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    1                        UNITED STATES DISTRICT COURT

    2                      CENTRAL DISTRICT OF CALIFORNIA

    3             HONORABLE GEORGE P. SCHIAVELLI, JUDGE PRESIDING

    4    CLASSIC CONCEPTS,                       )
                                                 )
    5                             Plaintiff,     )
                                                 )
    6                Vs.                         )   No CV04-8088 GPS(MANX)
                                                 )
    7    LINEN SOURCE, INC.,                     )
                                                 )
    8                             Defendant.     )
                                                 )
    9    ________________________________        )
                        AND                      )
   10    CLASSIC CONCEPTS , INC.,                )
                                                 )
   11                             Plaintiff,     )
                                                 )
   12                Vs.                         )
                                                 )
   13    HELLENIC RUG IMPORTS, INC.,             )
                                                 )
   14                        Defendant.          )
         ________________________________        )
   15

   16

   17                REPORTER'S TRANSCRIPT OF TRIAL PROCEEDINGS

   18                           LOS ANGELES, CALIFORNIA

   19                          TUESDAY, AUGUST 21, 2007

   20

   21

   22                       LEANDRA AMBER, CSR 12070, RPR
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                            UNITED STATES DISTRICT COURT
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                                                                               2



    1                            A P P E A R A N C E S

    2

    3    IN BEHALF OF THE PLAINTIFF,          THE SONI LAW FIRM
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   10    IN BEHALF OF THE DEFENDANT,          PAUL HASTINGS JANOFSKY &
         LINEN SOURCE, INC.:                  WALKER LLP
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   14

   15

   16

   17    ALSO APPEARING:

   18

   19

   20

   21

   22

   23

   24

   25

                            UNITED STATES DISTRICT COURT
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   11      BRUCE STROMBOM                                                   6
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   12

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    1     LOS ANGELES, CALIFORNIA; TUESDAY, AUGUST 21, 2007; 9:32 A.M.

    2                                     -o0o-

    3

    4                THE CLERK:    Calling Item Number 1, Civil 04-8088,

    5    Classic Concepts versus Linen Source, Inc., and Civil

    6    04-8457, Classic Concepts, Inc., versus Hellenic Rug Imports,

    7    Inc.

    8                Counsel, would you state your appearances, please.

    9                MR. SONI:    Good morning, your Honor.

   10                Surge Soni and Danton Richardson of the Soni Law

   11    Firm on behalf of the plaintiff.

   12                MR. ELLIS:    Good morning, your Honor.

   13                Dennis Ellis, Paul Hastings Janofsky & Walker, on

   14    behalf of the defendants.

   15                MR. STOVER:    Good morning, your Honor.

   16                Geoff Stover on behalf of the defendants.

   17                THE COURT:    Good morning, everybody.

   18                What I'm going to do today -- we will be doing is

   19    first we'll be completing the testimony, the evidentiary

   20    portion of this case, then I'm going to excuse the jury, and

   21    I will then deal with your several motions that have been

   22    filed.    Then --

   23                I will say this:     The jury instructions I have

   24    received are a mess.      The -- I asked for a set of jury

   25    instructions, agreed upon and disputed, and it was supposed

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    1    to be in by yesterday, I think I said, by noon.          I'm getting

    2    instructions, supplemental instructions, objections to

    3    supplemental instructions, further supplemental instructions.

    4    So right now the jury instruction materials I have are about

    5    this thick.

    6                There's no -- apparently no agreement on anything

    7    except maybe three or four instructions and special verdicts.

    8    So what I'm going to do at that point is send you all out,

    9    and you can either stay here -- I think you're more

   10    professional than that -- and you are going to get together,

   11    and you are going to work out some agreed-upon jury

   12    instructions.     This case is not that complicated.

   13                You are going to agree on some jury instructions,

   14    and you are going to get me a set, including a disc, with

   15    agreed-upon jury instructions -- and there should be numerous

   16    agreed-upon instructions at this point -- and the disputed

   17    instructions with each side's position in one set and the

   18    same thing with the verdict forms.

   19                Those instructions will have a set with annotations

   20    and a set without annotations, which I am supposed to

   21    receive.    They will be indexed.     The index will not go to the

   22    jury, but I expect them to be indexed.

   23                Now, if you can't reach agreement to work through

   24    what I see here -- and many of these instructions are

   25    argumentative and are clearly improper from both sides.           If

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                                                                               6



    1    you cannot go out there as professionals and agree upon some

    2    instructions, then I will likely just give the Ninth Circuit

    3    instructions.     So it's your choice, but that's the way we're

    4    going to go today.

    5                All right.    Bring down the jury, please.

    6                The witness may take the stand.

    7                (Whereupon, at 9:36 a.m. the jury entered the

    8                courtroom.)

    9                THE COURT:    All right.   You may be seated.

   10                All right.    Back on the record.

   11                The jurors are present in their seats.

   12                Good morning, ladies and gentlemen.       I hope you all

   13    had a pleasant weekend.

   14                The witness is back on the stand.

   15                You understand you have been sworn, you are still

   16    under oath?

   17                THE WITNESS:    I do.

   18                THE COURT:    All right.   You may proceed.

   19                               BRUCE STROMBOM,

   20      called as a witness by counsel for the defendants, having

   21          been previously duly sworn, testified as follows:

   22                MR. RICHARDSON:    Thank you, your Honor.

   23                        CROSS-EXAMINATION (RESUMED)

   24    BY MR. RICHARDSON:

   25    Q.    Good morning, Mr. Strombom.

                            UNITED STATES DISTRICT COURT
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                                                                               7



    1    A.    Good morning.

    2    Q.    You're not an expert in copyright law; correct?

    3    A.    No.   I don't consider myself to be an expert in the law.

    4    I'm an economist.

    5    Q.    And you're not here to give any opinion about

    6    infringement or any issues regarding copyright; correct?

    7    A.    That's correct.      I'm assuming infringement from my

    8    calculations.

    9    Q.    Okay.    Your job here is just to calculate numbers

   10    regarding damages or profits; correct?

   11    A.    It's to estimate damages and to comment upon the

   12    opposing expert's opinion of damages.

   13    Q.    The other day before we broke, we were looking at

   14    Exhibit 218.

   15                  MR. RICHARDSON:   It's admitted, your Honor.

   16                  May I publish?

   17                  THE COURT:   You may.

   18    BY MR. RICHARDSON:

   19    Q.    And we referred to the fact that here under the

   20    "Advertising Cost" you didn't actually look at any invoices

   21    or any canceled checks or anything like that paying for any

   22    of the claimed advertising costs; correct?

   23    A.    I didn't look at underlying source documents as is

   24    typical for damages experts.

   25    Q.    Now, one thing you did indicate was that to try to

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                                                                               8



    1    cross-check these numbers, you looked to a financial

    2    statement; is that correct?

    3                    MR. STOVER:    Objection.    Mischaracterized the

    4    testimony.

    5                    THE COURT:    Overruled.

    6                    Is that correct?

    7                    THE WITNESS:    I believe we were talking about

    8    Hellenic at the time, if I'm not mistaken.

    9                    MR. RICHARDSON:    Okay.    Let me switch exhibits

   10    then.

   11                    Exhibit 109.

   12                    THE COURT:    Go ahead.

   13    BY MR. RICHARDSON:

   14    Q.      So in order to cross-check the claimed overhead expenses

   15    from Exhibit 109 regarding Hellenic, it was your testimony

   16    you had looked to a financial statement or financial

   17    statements regarding Hellenic; correct?

   18    A.      Yes.    I verified the allocation by looking at the

   19    financial statements.

   20    Q.      Okay.    Now, if you did not -- excuse me.

   21                    If you did not have financial statements to look

   22    to, isn't it true, sir, that Exhibit 109 is not the type of

   23    summary document you would rely on in allocating -- or,

   24    rather, deducting overhead costs?

   25    A.      I would like to go further either by asking -- talking

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                                                                               9



    1    with people who are familiar with the financials or looking

    2    for additional financial records.

    3    Q.    The other day we also looked at Exhibit 153, marked for

    4    identification.

    5                  MR. RICHARDSON:     May I publish, your Honor?

    6                  THE COURT:   Yes.

    7    BY MR. RICHARDSON:

    8    Q.    And I believe we verified that if you look to the sales

    9    made by Hellenic to its customers or Linen Source to its

   10    customers as lost sales to Classic Concepts, this would be

   11    the method you would use to determine the loss profits to

   12    Classic; correct?

   13                  MR. ELLIS:   Objection.    Asked and answered.

   14                  THE COURT:   Overruled.

   15                  THE WITNESS:   No.    My testimony was that this would

   16    be part of the calculation you would do, but you would also

   17    deduct an allocable portion of the other costs incurred by

   18    Hellenic and Linen Source that contributed to the sales in

   19    order to determine the profitability.

   20    BY MR. RICHARDSON:

   21    Q.    Okay.    And as to that, you estimated -- or, rather,

   22    presumed that commissions and shipping would also need to be

   23    deducted; correct?

   24                  MR. ELLIS:   Objection.    Asked and answered.

   25    Cumulative.

                             UNITED STATES DISTRICT COURT
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                                                                              10



    1                 THE COURT:   Sustained.

    2     BY MR. RICHARDSON:

    3     Q.    Well, just to sum up, if we put aside for a moment any

    4     claims shipping or commission charges, this, as what we see

    5     on Exhibit 153, would be the correct method to determine the

    6     lost profits to Classic Concepts if we look to the sales made

    7     to both Hellenic and Linen Source customers; correct?

    8                 MR. ELLIS:   Objection.    Asked and answered.

    9     Cumulative.    Vague.

   10                 THE COURT:   Rephrase the question on the last

   11     ground.

   12     BY MR. RICHARDSON:

   13     Q.    If we put aside for the moment any claimed commission

   14     charges or shipping charges, the calculations we see on

   15     Exhibit 153 are the correct calculations to arrive at the

   16     lost profits Classic Concepts would have incurred judging

   17     by 00 or going by the lost -- the sales made by Hellenic Rugs

   18     to its customers and Linen Source to its customers?

   19                 MR. ELLIS:   Objection.    Compound.    Vague.

   20                 THE COURT:   Overruled.

   21                 THE WITNESS:    On the assumption that those sales

   22     would have been made and ignoring those other costs,

   23     incomplete though it is, that would be the calculation.

   24                 Go ahead.

   25

                             UNITED STATES DISTRICT COURT
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                                                                              11



    1     BY MR. RICHARDSON:

    2     Q.    Okay.    Now, it was your testimony that you would look to

    3     the sales -- rather, the purchases made by Linen Source and

    4     Hellenic rugs; correct?

    5     A.    As to the lost profits of Classic Concepts, that's

    6     correct.

    7     Q.    So let's walk through the numbers that way then, just as

    8     an alternative.

    9                   If we look to Hellenic, we would still have the

   10     same sales number; correct?

   11                   MR. ELLIS:    Objection.   Mischaracterizes his

   12     testimony.

   13                   THE COURT:    Sustained.

   14     BY MR. RICHARDSON:

   15     Q.    Well, let's start over.

   16                   What amount did Hellenic Rugs pay for the Diamond

   17     Kilim rugs it distributed -- or Diamond Kilim products it

   18     distributed?

   19     A.    $12,402.

   20     Q.    Now, to arrive at what the lost profits Classic Concepts

   21     would have incurred if those sales would have been made by it

   22     rather than Surya, what calculations will be made?

   23     A.    There are two.       First, calculate the gross margin on

   24     those sales.

   25     Q.    Okay.    So that's to multiply times the 46.6 percent;

                              UNITED STATES DISTRICT COURT
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                                                                              12



    1     correct?

    2     A.    That's correct.

    3     Q.    And what would that number be, sir?

    4     A.    That would be $5,779.

    5     Q.    Say that again.    I'm sorry.

    6     A.    $5,779.

    7     Q.    And you say there's another calculation you would want

    8     to make?

    9     A.    That's right.

   10                 I would -- I would deduct the other expenses that

   11     are variable with the sale of these rugs, which are -- are

   12     commissions and shipping.

   13     Q.    Now, again, if we -- assume for the moment that shipping

   14     and commissions are not included as part of this; in other

   15     words, in these revenues, you wouldn't deduct those expenses;

   16     right?

   17                 MR. ELLIS:   Objection.    Vague.

   18                 THE COURT:   Sustained.

   19     BY MR. RICHARDSON:

   20     Q.    Let me rephrase.

   21                 If we -- if the commissions -- rather, if Classic

   22     Concepts would not pay commissions on its Diamond Kilim rug

   23     sales, you wouldn't deduct any commission charges; correct?

   24     A.    If there were no commissions paid, I wouldn't deduct

   25     those expenses.

                             UNITED STATES DISTRICT COURT
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                                                                              13



    1     Q.     Right.

    2                    And if shipping is not included in the revenue

    3     number, you wouldn't deduct it on the back end either, would

    4     you?

    5                    MR. ELLIS:   Objection.   Vague.

    6                    THE COURT:   Overruled.

    7                    THE WITNESS:    If it was --

    8                    THE COURT:   It does seem to cover this.

    9                    But go ahead.

   10                    THE WITNESS:    If it was a cost that was incurred by

   11     Hellenic, then I would deduct it.

   12     BY MR. RICHARDSON:

   13     Q.     Okay.    So -- but if the evidence shows that it's not a

   14     cost that's included within -- or applicable regarding the

   15     Diamond Kilim products, you wouldn't make that deduction;

   16     correct?

   17                    MR. ELLIS:   Objection.   Asked and answered.

   18     Cumulative.

   19                    THE COURT:   Sustained.

   20     BY MR. RICHARDSON:

   21     Q.     Let's move to Linen Source.

   22                    What amount did Linen Source pay for the Diamond

   23     Kilim products it sold?

   24     A.     $1,102.

   25     Q.     One thousand -- what was that?

                               UNITED STATES DISTRICT COURT
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                                                                              14



    1     A.    $1,102.

    2     Q.    And to arrive at the lost profits Classic Concepts

    3     incurred, we would multiply again times the 46.6 percent;

    4     correct?

    5     A.    I would, yes, to arrive at the gross margin.

    6     Q.    Okay.    And that number is what, sir?

    7     A.    $514.

    8     Q.    And the other charges, shipping and commissions -- we

    9     wouldn't deduct those if those are not -- rather, let me ask.

   10                   If shipping is not included in the top number, we

   11     wouldn't deduct it out of the bottom number; correct?

   12                   MR. ELLIS:   Objection.   Asked and answered.

   13     Cumulative.

   14                   THE COURT:   Overruled.

   15                   THE WITNESS:   It's not whether it's included in the

   16     top number.     It's whether it's a cost that was incurred by

   17     Linen Source that's pertinent to these sales.

   18     BY MR. RICHARDSON:

   19     Q.    Okay.

   20     A.    So if it was a cost, I would deduct it.

   21     Q.    Okay.    Let me rephrase it then.

   22                   If it's shown that there were no shipping costs

   23     that Classic Concepts would incur regarding the Diamond Kilim

   24     products, you wouldn't deduct that as a charge; correct?

   25     A.    If it wasn't --

                              UNITED STATES DISTRICT COURT
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                                                                              15



    1                 MR. ELLIS:    Objection.   Asked and answered.

    2     Cumulative.

    3                 THE COURT:    Sustained.

    4                 MR. RICHARDSON:    One moment, your Honor.

    5                 THE COURT:    Sure.

    6                 (An off-the-record discussion was held.)

    7                 MR. RICHARDSON:    No further questions at this time.

    8                 THE COURT:    Thank you.

    9                 Redirect.

   10                 MR. ELLIS:    No further questions, your Honor.

   11                 THE COURT:    All right.   The witness may step down.

   12                 Thank you.

   13                 Defense's next witness.

   14                 MR. ELLIS:    Subject to the admission of additional

   15     exhibits, the defense rests.

   16                 THE COURT:    Thank you.

   17                 Any rebuttal?

   18                 MR. SONI:    Yes, your Honor.

   19                 We have a brief rebuttal.     Of course we have the

   20     motion at the close of defense's case if you want to take

   21     that up.

   22                 THE COURT:    I'll deal with the motion later --

   23                 MR. SONI:    All right, your Honor.

   24                 THE COURT:    -- but the motion has been filed.

   25                 Any rebuttal?

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                                                                              16



    1                 MR. SONI:    Yes, your Honor.

    2                 We do have a rebuttal.     It will be Mr. Henry Kahrs.

    3                 THE COURT:    Please take the stand.

    4                 You understand you have already been sworn; you are

    5     still under oath?

    6                 THE WITNESS:    Yes.

    7                                HENRY J. KAHRS,

    8      called as a witness by counsel for the plaintiff(s) having

    9            been previously duly sworn, testified as follows:

   10                 THE COURT:    All right.   Have a seat.

   11                 Mr. Richardson, you may proceed.

   12                 MR. RICHARDSON:    Thank you, your Honor.

   13                              DIRECT EXAMINATION

   14     BY MR. RICHARDSON:

   15     Q.    Mr. Kahrs, I would like to pick up where we left off the

   16     other today.    I've put on the screen again what was marked

   17     for identification as Exhibit 153.

   18                 I don't know if you were here and heard

   19     Mr. Strombom testify, but he indicated that there were some

   20     additional deductions that would need to be made from these

   21     numbers, namely commissions and shipping charges.

   22                 Did you make those deductions?

   23     A.    I did not, no.

   24     Q.    And why is that?

   25     A.    Well, as for the commissions I had a discussion with a

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                                                                              17



    1     representative of Classic Concepts, who stated that normally

    2     they would not pay commissions on the Diamond Rug Kilim

    3     pattern -- or the Diamond Kilim rug pattern.

    4                 As for the shipping -- and I verified this on some

    5     of the invoicing, the practice is to add shipping costs to

    6     the sales amount.     So, for example, if you were going to bill

    7     the customer $100 for shipping, you would have to add that to

    8     the $29,380 and then deduct it as a cost.        So in essence it

    9     would become a wash.

   10                 So because you didn't add the shipping costs on as

   11     additional revenue, you wouldn't deduct them as a cost.

   12     Q.    Now, Mr. Strombom has indicated -- well, let me verify.

   13                 In the numbers we calculated on Exhibit 153,

   14     that's -- that assumes that the lost sales to Classic

   15     Concepts would be the sales to Hellenic Rugs customers and

   16     Linen Source customers; correct?

   17     A.    That's correct, yes.

   18     Q.    Now, if we look to the lost sales being the purchases by

   19     Hellenic Rugs and by Linen Source, what would those numbers

   20     be?

   21     A.    Well, looking at the exhibit you put up there, I agree

   22     with Mr. Strombom on the $12,402 as the purchase amount made

   23     by Hellenic, which is what Classic would have sold it to

   24     Hellenic for.

   25                 I agree on the margin of 46.6 percent, and I agree

                             UNITED STATES DISTRICT COURT
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                                                                               18



    1     on the math that it equals $5,779.         My comments on shipping

    2     and commissions are exactly the same as Hellenic.

    3     Q.    Okay.    Now, if we look to the purchase by Linen Source

    4     as being the lost sale to Classic Concepts, are these numbers

    5     correct?     We see on exhibit -- what I've marked for

    6     identification as Exhibit 154.

    7     A.    Yes, I agree with the 1102.        I agree with the

    8     46.6 percent.     I agree with the $514 on the math -- same

    9     comments on the shipping and the commissions.

   10     Q.    Now, previously we didn't get into any profits that may

   11     have been made by Hellenic or Linen Source; correct?

   12     A.    That's correct.

   13     Q.    Now, if we do those calculations, how would we go about

   14     arriving at those numbers?

   15                   MR. ELLIS:    Objection.    Beyond the scope.

   16                   THE COURT:    This is rebuttal.    We're in a new --

   17     sustained.

   18                   MR. RICHARDSON:      Your Honor, may I have a sidebar?

   19                   THE COURT:    Yes.

   20                   With the reporter, please.

   21                   (The following was heard at sidebar.)

   22                   MR. SONI:    We went through this in plaintiff's

   23     case-in-chief.     There were no evidence of costs offered, any

   24     claimed costs as of yet, and we had met our burden simply by

   25     putting on the revenues.        Now that there are evidence of

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                                                                              19



    1     costs, we would like Mr. Kahrs to address those.

    2                  MR. ELLIS:   No.   That was something that they had

    3     to do in the case-in-chief.       They didn't do it.    They didn't

    4     raise the issue of profits.       We raised the issue with the

    5     cost; that cost that was changing his report, not dealing

    6     with that.     We had a motion --

    7                  THE COURT:   Yeah.   I know you had a motion.

    8                  MR. ELLIS:   -- with Kahrs, and it can't come out in

    9     the rebuttal for the very first time of their claim of

   10     damages of profits, which are other --

   11                  THE COURT:   You can attack Mr. Strombom's

   12     assessment of the costs, but I don't want to hear, you know,

   13     his case of new theory on profits.       He can show why

   14     Mr. Strombom isn't correct, but that's it.

   15                  MR. RICHARDSON:    Okay.

   16                  (The following was heard in open court.)

   17                  THE COURT:   Whenever you are ready, you may

   18     proceed.

   19                  Thank you, Counsel.

   20     BY MR. RICHARDSON:

   21     Q.    Mr. Kahrs, Mr. Strombom -- you're familiar with his

   22     reports prepared in this matter; correct?

   23     A.    Yes, I am.

   24     Q.    In arriving at profits, what calculations -- rather, let

   25     me rephrase.

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                                                                              20



    1                   In arriving at profits earned by Hellenic Rugs and

    2     Linen Source, what were the nature of the calculations made

    3     by Mr. Strombom?

    4     A.    Mr. Strombom took the total sales -- let's start with

    5     Hellenic, which were $29,380.      He deducted the cost of sales,

    6     which was $12,402.     Then I believe he also deducted the cost

    7     of duties and freight and an additional line item called cost

    8     of sales and then general and administrative expense or

    9     overhead and came down to a number of $4,047.

   10     Q.    Okay.    Now, let's walk through that.

   11                   There was -- what deduction for cost of sales?

   12     A.    It was the direct cost of $12,402.

   13     Q.    And what were the other deductions?

   14     A.    Cost of duties and freight, $1,860.

   15     Q.    Anything else?

   16     A.    There is an additional 620, which just says cost of

   17     sales.

   18     Q.    Anything else?

   19     A.    $10,450 for general and administrative expense or

   20     overhead.

   21     Q.    Was Mr. Strombom correct in this instance to deduct any

   22     general admin or overhead charges?

   23     A.    I don't believe so, no.

   24     Q.    And why is that?

   25     A.    Well, I think there's a couple of reasons.

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                                                                              21



    1                    The first is in order for it to be a cost, in my

    2     mind the first thing you look at, is an incremental.          General

    3     and administrative normally would not.         It could include

    4     rent.    It could include insurance.       It could include payroll.

    5     And, you know, for a small volume of rug sales, I don't think

    6     they had to rent the extra space or add general

    7     administrative.

    8                    I think the second issue is you need to go through

    9     and look at the categories included in there to find out if

   10     there is a direct relationship to sales.         And the only

   11     document that I've seen is whatever exhibit you put up -- was

   12     that one --

   13     Q.      It's Exhibit 109.

   14     A.      109.

   15                    -- which doesn't have any of that detail.

   16                    MR. RICHARDSON:     If I may publish.

   17                    THE COURT:   Yes.

   18     BY MR. RICHARDSON:

   19     Q.      Exhibit 109 we now have on the screen.

   20                    Is that what you're referring to, Mr. Kahrs?

   21     A.      That's correct.

   22     Q.      What are the issues with -- relying on this document?

   23     A.      Well, I think Mr. Strombom actually testified a minute

   24     ago that this isn't a document he would normally rely on.          He

   25     would want to go further.

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                                                                              22



    1                 MR. ELLIS:   Objection.    Objection.    Nonresponsive.

    2     Move to strike.

    3                 THE COURT:   Sustained.

    4     BY MR. RICHARDSON:

    5     Q.    Is Exhibit 109 a document you would rely on in making

    6     deductions of claim cost?

    7     A.    No, it's not.

    8     Q.    Why is that?

    9     A.    This is simply a document produced by one of the parties

   10     in the matter.    It's not really a normal accounting record.

   11     It's just a spreadsheet that someone put up there.         It

   12     doesn't haven't any backup documents.        It doesn't tie to any

   13     financials that I've been provided with.

   14                 MR. ELLIS:   Objection.    Move to strike.

   15     Nonresponsive.

   16                 THE COURT:   Denied.

   17     BY MR. RICHARDSON:

   18     Q.    You can continue, sir.

   19     A.    Those are the main reasons.      It's not an accounting

   20     document.    It has no backup to it.     There's no invoicing, and

   21     it doesn't tie to any financial statements that I've been

   22     provided with.

   23     Q.    Put simply, there's no way to verify the numbers that

   24     are included?

   25                 MR. ELLIS:   Objection.    Leading.

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                                                                              23



    1                   THE COURT:   Sustained.

    2     BY MR. RICHARDSON:

    3     Q.    Without being able to review the underlying documents,

    4     can you verify the accuracy of the numbers claimed on

    5     Exhibit 109?

    6                   MR. ELLIS:   Objection.   Leading.

    7                   THE COURT:   Overruled.

    8                   THE WITNESS:   Without any backup or without any

    9     financial statements you cannot review any of those numbers

   10     or verify them.

   11     BY MR. RICHARDSON:

   12     Q.    Okay.    Now, are there any other reasons that in making

   13     a profits calculation as to Hellenic Rugs you would not or --

   14     deduct general and admin claim costs in this instance?

   15     A.    Other than the ones I testified about, the incremental

   16     and the ability to --

   17     Q.    Right.

   18     A.    -- review them, verify their accuracy, and look for

   19     specific categories.       Other than that, no.

   20                   MR. ELLIS:   Objection.   Move to strike.

   21     Nonresponsive.

   22                   THE COURT:   Denied.

   23     BY MR. RICHARDSON:

   24     Q.    Okay.    And now the cost of the goods -- is that a number

   25     that we would deduct?

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                                                                               24



    1     A.      Yes.

    2     Q.      Okay.    Now, what about the duties and freight?     Would

    3     you deduct that number?

    4     A.      Normally I would say, yes, you would, but in this case

    5     my understanding is the defendants have testified that they

    6     haven't allocated it based on any kind of weight or cost or

    7     any kind of method.       It's just some sort of allocation that

    8     I don't know about.

    9     Q.      Okay.

   10     A.      So I can't verify whether it's an accurate allocation.

   11     Q.      When you're talking about allocation, allocation as to

   12     what?

   13     A.      Trying to say that this amount of duties and freight

   14     relates specifically to the purchase of the $12,402 in rugs.

   15     Q.      Okay.    So that's not a number you would include;

   16     correct?

   17     A.      Based on the data that I've seen, I would exclude it,

   18     although it's normally one I would include.

   19     Q.      Okay.    Now the cost of sales number, the $620.

   20                     Is that a number you would deduct?

   21     A.      Again, by its definition it's normally a number that I

   22     would deduct.       But given that the only thing we have here is

   23     a piece of paper, I can't verify it.       I have no idea what it

   24     is.   So I can't determine whether it's a valid deduction, no.

   25     Q.      Now, if we move to Linen Source, what number did -- or,

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                                                                              25



    1     rather, what calculations did Mr. Strombom go through to

    2     arrive at Linen Source's profits?

    3     A.    It's in my other report.     Hold on.

    4                   My understanding is he took the total sales net of

    5     returns, which is $2,370.

    6     Q.    $2,370.

    7     A.    He deducted postage and handling revenue.

    8     Q.    Okay.    And you -- let me interrupt one second.       You

    9     indicated $2,370 is net of returns?

   10     A.    Yes.

   11     Q.    Okay.    And then what did he do?

   12     A.    He deducted postage and handling revenue of $316.

   13     Q.    Anything else?

   14     A.    He deducted the $1,102 paid to Hellenic, and he deducted

   15     $74 of drop ship charges.

   16     Q.    What was that number?

   17     A.    $74, which is a subtotal of $1,510.

   18     Q.    Okay.    Before we get to the subtotal, let's look at

   19     whether his deductions are correct.

   20                   The amount paid for the goods, the amount paid to

   21     Hellenic Rugs -- is that a charge you would agree with?

   22     A.    Yes.

   23     Q.    Okay.    And you agree with the $2,370 number as well;

   24     correct?

   25     A.    That's correct.

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                                                                              26



    1     Q.    Now, what about the $316 for postage and handling?

    2     A.    I agree with that also.

    3     Q.    Okay.    What about the $74 for drop shipping charges?

    4     A.    I agree with that also.

    5     Q.    What a day.    An agreement among experts.

    6                   What would the calculations net out to be?

    7     A.    $1,510.

    8     Q.    And that's a number you would agree with as well;

    9     correct?

   10     A.    Correct.

   11     Q.    Now, I don't believe we netted out the Hellenic numbers.

   12                   If you take out the calculations that you

   13     believe -- or, rather, the deductions you do not believe have

   14     been properly supported, what number do you come up with?

   15     A.    That would be for Hellenic --

   16                   Can I move the page?

   17     Q.    Yes, for Hellenic.

   18     A.    Can you move the page down a second?

   19     Q.    Yes.

   20     A.    It would be $29,380 minus $12,402, which equals $16,978.

   21     Q.    And just so we're clear, the only deduction you allow

   22     would be the $12,402 cost of goods; correct?

   23     A.    Correct.

   24     Q.    So netting that out, you arrive at $16,978 as the total

   25     amount that would be the lost profits to Classic if we look

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                                                                                 27



    1     to Hellenic's purchases as being the loss?

    2     A.    That would be the sales earned or the profits earned by

    3     Hellenic.

    4     Q.    Excuse me.   I misspoke.    Yes.

    5                 So the $16,000 is the loss -- or rather the profits

    6     earned by Hellenic Rugs on its sales?

    7     A.    That's correct.

    8     Q.    Now, is it your understanding that if the infringement

    9     in this case is found to be willful, are any type of

   10     deductions allowed?

   11                 MR. ELLIS:   Objection.      Calls for a legal

   12     conclusion.    Relevance.

   13                 THE COURT:   Sustained.

   14                 MR. RICHARDSON:    One moment, your Honor.

   15     BY MR. RICHARDSON:

   16     Q.    Do you have an understanding as to whether any different

   17     calculations would need to be made if the infringement is

   18     found to be willful?

   19                 MR. ELLIS:   Objection.      Vague.   Relevance.   Calls

   20     for a legal conclusion.

   21                 THE COURT:   Sustained.

   22                 Lay a foundation.

   23     BY MR. RICHARDSON:

   24     Q.    Mr. Kahrs, have you been called upon to give opinions as

   25     to lost profits in copyright cases?

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    1     A.    Yes, I have.

    2     Q.    And do you have a familiarity with the type of

    3     deductions that are made in arriving at lost profits?

    4     A.    Yes, I do.

    5     Q.    And is it your understanding that the type of deductions

    6     that are allowed vary depending on whether or not the

    7     infringement is determined to be willful?

    8     A.    That's my understanding, yes.

    9     Q.    What -- how are the calculations different if the

   10     infringement is determined to be willful?

   11                 MR. ELLIS:   Objection.    Relevance.    Vague.    Calls

   12     for a legal conclusion.

   13                 THE COURT:   Overruled.

   14                 THE WITNESS:    My understanding is that if the

   15     infringement is willful --

   16                 THE COURT:   Excuse me.    One second.

   17                 However, ladies and gentlemen of the jury, he may

   18     be commenting on his understanding, understand that

   19     instruction is not an instruction on the law.         You'll get

   20     your instructions on the law solely from the Court.           This is

   21     simply a calculation based on his understanding.         He is

   22     giving a legal instruction.

   23                 Proceed.

   24                 THE WITNESS:    Yeah.

   25                 Again, it's my understanding that in a willful

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                                                                              29



    1     infringement you would -- the proof of the cost raises the

    2     more willfully infringement, and it could raise to the level

    3     of no deductions that the infringer would have to pay the

    4     sales rep.     That's my understanding.

    5     BY MR. RICHARDSON:

    6     Q.    Okay.    And so if the infringement is found to be

    7     willful, we would look just to the total revenue number;

    8     correct?

    9     A.    Again, that's my understanding, yes.

   10     Q.    Okay.    And in that instance as to Linen the number would

   11     be $29,380; correct?

   12     A.    That's correct.

   13     Q.    And as to Linen Source, the total revenue number would

   14     be $2,370; correct?

   15     A.    Correct.

   16                   MR. RICHARDSON:    One moment, your Honor.

   17                   THE COURT:    You may.

   18                   MR. RICHARDSON:    That's all for this witness.

   19                   THE COURT:    Thank you.

   20                   Cross.

   21                   MR. ELLIS:    May I have a moment, your Honor --

   22                   THE COURT:    You may.

   23                   MR. ELLIS:    -- to set up?

   24                   May I inquire of the witness.

   25                   Do you have a calculator?

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    1                   THE WITNESS:    I have one on my phone.

    2                   MR. ELLIS:   May I approach him, your Honor, and

    3     give him a good one?

    4                   THE COURT:   Well, his phone may be a good one.

    5                   MR. ELLIS:   Are you comfortable using the one on

    6     your phone?

    7                   THE WITNESS:    It may be quicker to use that one.

    8                   THE COURT:   Okay.   Go ahead.

    9                   THE WITNESS:    Thank you.

   10                   MR. ELLIS:   Thank you.

   11                   May I proceed, your Honor?

   12                   THE COURT:   You may.

   13                                  CROSS-EXAMINATION

   14     BY MR. ELLIS:

   15     Q.    Mr. Kahrs, the testimony you've given during this trial

   16     regarding the damages of Classic Concepts differs from that

   17     which you gave in your report; correct?

   18     A.    There are some differences, yes.

   19     Q.    Let's go over those differences.

   20     A.    Sure.

   21     Q.    Now, first working with Hellenic you came up with a

   22     number that you felt in your report reflected Hellenic's

   23     profits; correct?

   24     A.    Correct.

   25     Q.    And that number was $14,497; correct?

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                                                                              31



    1     A.    That's correct.

    2     Q.    You also came up with a number that you thought

    3     reflected Classic's actual damages; correct?

    4     A.    Correct.

    5     Q.    And that number was $14,690; right?

    6     A.    Let me double-check that.

    7                 Yes.

    8     Q.    But because that number was higher than the Hellenic's

    9     profits, you just allocated $193 towards Classic's actual

   10     damages; right?

   11     A.    Correct.     It would be the differential.

   12     Q.    So the total amount of damages you calculated before

   13     this trial started for Classic Concepts you have already --

   14     regarding any claim of infringement regarding Hellenic was

   15     $14,690; correct?

   16     A.    Correct.

   17     Q.    Now, from Linen Source -- you calculated Linen Source's

   18     profits to be $1,510; right?

   19     A.    Correct.

   20                 MR. ELLIS:    Am I blocking this?

   21                 Excuse me, Mr. Soni.

   22                 MR. SONI:    Not at all.   I'm trying to stay out of

   23     your way.

   24                 MR. ELLIS:    I've got my big side on you.

   25     ///

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                                                                              32



    1     BY MR. ELLIS:

    2     Q.    Now, with respect to Classic's actual damages in the

    3     Linen Source case, you calculated that before this trial

    4     began in your report to be $551; right?

    5     A.    Correct.

    6     Q.    So the total amount of profits you calculated in the --

    7                 I'd better get my calculator just to make sure I'm

    8     right.

    9                 Let me ask the question again.

   10                 So the total amount of what you calculated as

   11     damages in the Linen Source case as a result of infringement

   12     that would be awarded to Classic would be $2,061; right?

   13     A.    Correct.

   14     Q.    Now let's talk about what you did since this trial

   15     began.

   16                 If I understand you correctly, you are now saying

   17     that the total profits in the Hellenic case or that Hellenic

   18     got was $13,691; correct?

   19     A.    No.

   20     Q.    What's this say?

   21     A.    That --

   22                 MR. ELLIS:   Oh, I got it.    My bad.

   23                 THE WITNESS:    Classics.

   24                 THE COURT:   Technical legal term.

   25     ///

                             UNITED STATES DISTRICT COURT
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    1     BY MR. ELLIS:

    2     Q.    It's higher.

    3                   The profits would be $16,978 --

    4     A.    Correct.

    5     Q.    -- correct?

    6     A.    Correct.

    7     Q.    And now the actual damages have jumped by some

    8     7,000 percent to $13,691; correct?

    9     A.    I would not agree with the characterization, no.         The

   10     actual -- the damage --

   11     Q.    I think you answered the question.       So let's add these

   12     up.

   13                   So now your damage figure is $30,669; is that

   14     right?

   15     A.    Are you adding those numbers together?

   16     Q.    Yeah.

   17     A.    The profits of Hellenic plus the actual --

   18     Q.    Let me ask the question a little bit differently.

   19     A.    Sure.

   20     Q.    Is your new damage number $30,679?       Yes or no.

   21     A.    No.

   22     Q.    What is the new damage figure in your mind?

   23     A.    Well, we have different concepts here.       We have the

   24     profits earned by Hellenic, which is 16,978 --

   25     Q.    Mr. Kahrs, I think if you follow what I'm asking you --

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                                                                              34



    1                     MR. RICHARDSON:    Objection, your Honor.

    2                     At least let the witness answer the question.

    3                     THE COURT:   No.   He answered the question with the

    4     figure.    It's not a hard question.

    5     BY MR. ELLIS:

    6     Q.      What are the numbers?      Just give us the numbers without

    7     the explanation.

    8                     THE COURT:   You can come back on it.

    9                     THE WITNESS:   Again, the profits earned by Hellenic

   10     are $16,978.       The profits that would have been earned by

   11     Classic are $13,691.

   12     BY MR. ELLIS:

   13     Q.      And what's the total number?

   14     A.      If -- to avoid duplication, you would look at the

   15     differential between them.         So would you actually subtract

   16     them.

   17     Q.      Okay.     So what is the number?   The total damage number,

   18     as you understand copyright law, as you understand the facts

   19     of this case.

   20     A.      Under that scenario it would be $3,287.

   21     Q.      Is the total?

   22     A.      Yes.     It would be the differential between them to be

   23     consistent with the report.

   24     Q.      Say the number again.

   25     A.      Sorry.    I cleared it.

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    1                   $3,287.

    2     Q.    So your testimony is that the entire damages available

    3     to Classic Concepts for infringement by Hellenic is $3,287;

    4     is that right?

    5     A.    If the jury awards the profits earned by Hellenic and

    6     the profits earned by Classic to avoid the duplication, it

    7     would be $3,287.        Yes.

    8     Q.    Now, if I understand your testimony regarding --

    9     A.    I'm sorry.     It would actually be $16,978.     To be

   10     consistent, the differential would be added to Hellenic.          To

   11     be consistent with my first report, the actual damages -- I'm

   12     sorry.   The actual damage number shouldn't be $13,691.         It

   13     should be $3,287.       The total should equal the profits earned

   14     by Hellenic.

   15     Q.    For a second there I thought you were trying to do a

   16     fast track and get hired by my firm.

   17                   So what you're saying is it should go up here?

   18     A.    The total -- if you see the comparison --

   19     Q.    I know -- I was going to let you make a mistake, but I

   20     know what you're saying.

   21     A.    $16,978.     I got confused by your presentation there.

   22     I'm sorry.

   23     Q.    Don't worry.       I was going to clean it up at the end, but

   24     let's do it now.

   25     A.    Okay.

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    1     Q.    So now the total damages are what?

    2     A.    $16,978.

    3     Q.    So it's a little messy, but it's not $16,978; right?

    4     You want to add this one and that one; right?         Isn't that

    5     what you want to do?

    6     A.    No.

    7     Q.    You don't want to add these two?

    8     A.    Correct.

    9     Q.    You added these two over here?

   10     A.    Correct.

   11     Q.    And you don't want to add them over here now?

   12     A.    That is correct.

   13     Q.    All right.   What is the total damages available in the

   14     Hellenic Rug case?     And this is like "Who Wants To Be A

   15     Millionaire."    This has got to be your final answer.

   16     A.    It's $16,978.

   17     Q.    So that's the total?

   18     A.    Under that theory, yes.

   19     Q.    Well, that's your theory; right?       Your new one?

   20     A.    It's the same theory.

   21     Q.    It's the new theory?

   22     A.    No.   It's the same theory.

   23     Q.    Well, this is more than -- this one is more than that.

   24     So you changed it; right?

   25     A.    Well, as I said, I changed the deductions based on the

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    1     testimony in this trial.

    2     Q.    That's not correct.

    3     A.    Yes, it is.

    4     Q.    No, it isn't.

    5                  You changed --

    6                  THE COURT:   Stop arguing, please.

    7     BY MR. ELLIS:

    8     Q.    You changed the starting number; true?

    9     A.    No.

   10     Q.    You did not change the starting number?

   11     A.    The starting number has always been the sales --

   12     Q.    The $29,000 --

   13     A.    -- the $29,000 --

   14                  THE COURT:   Stop for a second.    You're talking over

   15     each other, which won't work.      I don't want to hear arguing

   16     back and forth.

   17                  You answer the questions.

   18                  And you ask questions.

   19                  MR. ELLIS:   Sure.

   20                  THE COURT:   Next question, please.

   21     BY MR. ELLIS:

   22     Q.    Do you have your report in front of you?

   23     A.    Yes.

   24     Q.    And I'm looking at the Hellenic Rug report?

   25     A.    Yes.

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    1     Q.    And at Paragraph 5 you say Hellenic Rug Imports imported

    2     these goods from India, had purchased them from Classic

    3     Concepts.    Classic Concepts would have earned the margin.

    4                 That's what you said; right?

    5     A.    Correct.

    6     Q.    And if Hellenic had been purchasing these from Classic

    7     instead of India, we would have been looking at what Surya

    8     sold them for; right?

    9     A.    Correct.

   10     Q.    But you didn't do that, did you, in your report?

   11     A.    That's a different calculation, yes.

   12     Q.    Well, you didn't do that in your report even though you

   13     said that we should look at what they sold it for from India

   14     from; right?

   15     A.    That's correct.

   16     Q.    And so you are correct that you always did use the

   17     $29,000 number but -- but you did that wrong, didn't you,

   18     because you didn't look at Surya's numbers?

   19                 You never looked at Surya's numbers -- at what

   20     Hellenic bought them for; correct?

   21     A.    I did not look at Surya's numbers in our report.

   22     Q.    All right.   Now, your total damages in Hellenic's case,

   23     as you sit here today, is $16,978; correct?

   24     A.    That's the profits that Hellenic Rugs earned, yes.

   25     Q.    What is the total -- the total amount of damages that is

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    1     available to the plaintiff as their expert -- as their paid

    2     expert that they can get if they win?        What is the number?

    3     A.    My understanding is they would be entitled to -- the

    4     profits that Hellenic earned -- depending on the willfulness,

    5     they may or may not be able to deduct costs.         So it could be

    6     as high as $29,380.     If you deduct the cost, the profits that

    7     Hellenic earned are $16,978.

    8     Q.    And under this scenario -- your new scenario, you

    9     wouldn't include this amount; correct?

   10     A.    The profits that Classic would have earned would be less

   11     than that.     So to avoid duplication, you would not add them

   12     together.     It would just be the total.

   13     Q.    All right.

   14     A.    Then we still have the cost issue, the Surya cost issue.

   15     Q.    Okay.    Now let's go to Linen Source.

   16                   Now, for the profits you did remain consistent, and

   17     it's still $1,510; right?

   18     A.    Correct.

   19     Q.    And for the actual -- it is now $1,104, where it was

   20     $551; right?

   21     A.    Correct.

   22     Q.    And in this particular instance, one of the changes is

   23     that you began with the new starting number; right?

   24     A.    That's correct.

   25     Q.    And the original starting number that you began with in

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    1     your report -- you actually came up with that theory with

    2     Mr. Soni; correct?

    3     A.    That's correct.

    4     Q.    And you guys sat down talked about it, vented it out,

    5     and decided that the theory that you employed at the

    6     beginning to look at what Linen Source paid to Hellenic was

    7     correct; correct?

    8     A.    That was correct based on our discussions at that time.

    9     Q.    But since this trial has started, you changed that

   10     approach, and now you are looking at what Linen sold the

   11     products for; right?

   12     A.    That's correct.

   13     Q.    Well, I assume that was also due to a discussion with

   14     Mr. Soni; correct?

   15     A.    Actually, it was a discussion with Harpal.

   16     Q.    Oh, so Mr. Soni wasn't there when you were talking to

   17     his client about the changes you were going to make in the

   18     testimony today?

   19     A.    He was there also, yes.

   20     Q.    Okay.    So he was co-signer, so to speak, as to the

   21     changes you were going to make in your report that were going

   22     to increase the actual damages by 200 percent; right?

   23     A.    About $500, yes.

   24     Q.    200 percent.

   25                   You were -- you went to Cal State Fullerton like

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    1     me.   You can add that up that quickly, can't you?

    2     A.    It would be 100 percent increase.

    3     Q.    All right.     Now, if I understand this correctly, in this

    4     particular case you have now -- what is this -- well, let me

    5     ask this.

    6                 What is the total number for the Linen Source case

    7     as you understand it?

    8     A.    It would be $2,000 -- $2,614.

    9     Q.    So from your report to your testimony here today, you've

   10     increased damages by as little as $2,000 or so dollars;

   11     right?

   12     A.    Correct.

   13     Q.    And you've increased them by as much as $15,000 if

   14     there's no deductions made; correct?

   15     A.    Correct.

   16     Q.    And for the Linen Source case you've increased damages

   17     by, oh, $600?

   18     A.    Roughly, yes.

   19     Q.    And, in total, your testimony here today is different

   20     than it was in your report that you signed and submitted

   21     under penalty of perjury; right?

   22     A.    There were some changes, yes.

   23     Q.    And the differences in that report were the result of a

   24     conversation you had with Mr. Singh and Mr. Soni; right?

   25     A.    Correct.     And some testimony in this trial.

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    1     Q.    Now, when you were doing all this to change your

    2     opinions, did you at any time talk to Mr. Singh about his

    3     production capabilities during the time that the defendants

    4     sold their products?

    5     A.    Yes.

    6     Q.    Was that after the trial or before?

    7     A.    It was during.

    8     Q.    So you never discussed with Mr. Singh his production

    9     capabilities until this trial actually began?

   10     A.    With Mr. Singh, no.

   11     Q.    You only talked to Mr. Soni about those issues?

   12     A.    Yes.

   13     Q.    And as you said at your deposition, he just assured you

   14     that there could have been a production of the additional

   15     rugs; right?

   16     A.    Yes.

   17     Q.    Now, did you ever review Mr. Singh's testimony and hear

   18     him say how all of Panipat was making his rugs on every

   19     available loom in the country?

   20     A.    I did not review his testimony, no.

   21     Q.    Oh, so your opinions do not take into consideration that

   22     Mr. Singh said that every single loom in Panipat was being

   23     woven with his rug up and down the streets, under sheds,

   24     where everybody could come and look at it and see it.

   25                  You didn't consider that, did you?

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    1     A.    Well, again, I discussed with him where he said he could

    2     make these sales.

    3                 MR. ELLIS:   Move to strike as nonresponsive.

    4                 May I have the question back, your Honor?

    5                 THE COURT:   Well, hold on.     Let me rule on the

    6     motion first.

    7                 The motion is granted.

    8                 The reporter please repeat the question.

    9                 (The record was read.)

   10     BY MR. ELLIS:

   11     Q.    Yes or no?

   12     A.    I did not consider that statement, no.

   13     Q.    Now, we could agree, can we not, that there's no damages

   14     to plaintiff unless the plaintiff can prove that they could

   15     actually make the rugs for sale; right?

   16     A.    There would just be the profits earned by the infringer.

   17     Q.    Right.

   18                 For the actual damage to the plaintiff, they would

   19     need to prove that they could actually make the rugs.          True

   20     or false?

   21     A.    That's -- my understanding is that that's true.

   22     Q.    And if they could not make the rugs, if they were so

   23     occupied in making other items, then there wouldn't be no

   24     actual damage to the plaintiff; right?

   25     A.    That's my understanding, yes.

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    1     Q.    Now, you know that the plaintiff had not these rugs

    2     since about 2000; right?

    3     A.    I'm not aware of the last time they produced them, no.

    4     Q.    Well, during your conversations with Mr. Singh, didn't

    5     he tell you that he stopped selling his Diamond Kilim rugs to

    6     Pottery Barn in or about February, 2000?

    7     A.    I don't recall the exact date, but I remember that he

    8     was selling them to Pottery Barn, and then he stopped, yes.

    9     Q.    And the -- during the period of time that the defendants

   10     were selling their products, Classic Concepts wasn't even

   11     selling the rug; correct?

   12     A.    That's my understanding, yes.

   13     Q.    They were only selling the pillow and the ottoman to

   14     Crate and Barrel; true?

   15     A.    That's my understanding.

   16     Q.    And they hadn't in many years even produced the rug;

   17     correct?

   18     A.    Not that I know of.     Correct.

   19     Q.    So you've increased your damages in this case based on

   20     a conversation with Mr. Singh and Mr. Soni; right?

   21     A.    That's correct.

   22     Q.    But during that conversation you never once asked a

   23     question or verified that despite the fact that plaintiff

   24     hadn't produced a rug in seven years, they could have made

   25     the rugs during the period of time the defendants were

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    1     selling their goods; right?

    2     A.    That's incorrect.    I did ask Mr. Singh about it.

    3     Q.    And you just took his word for it; right?

    4     A.    It's my understanding he said he could do that, yes.

    5     Q.    Well, I'm trying to figure out how that's consistent

    6     with the fact that you testified that he couldn't take

    7     Hellenic's word for it on Exhibit 109, when they gave their

    8     general administration costs.

    9                   Can you explain that for me, Mr. Kahrs?

   10     A.    Sure.

   11                   I think the concept of production ability would be

   12     something that would come from the owner of the company.          I

   13     think an accounting document versus a piece of paper -- there

   14     would be back up and accounting work that would be very

   15     simple and easy to produce that you could verify.

   16     Q.    So inventory production schedules, those aren't

   17     something that are easy to produce?       Yes or no.

   18     A.    Yes, they would be.

   19     Q.    But in this particular instance you just took

   20     Mr. Singh's word for it without asking for any of those

   21     things; right?

   22     A.    I asked him if he could make the rugs.       He said yes.

   23     Q.    And that was it.

   24                   You didn't ask for anything else to verify that

   25     statement; isn't that right?

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    1     A.    That's correct.

    2                 MR. ELLIS:    Thank you, your Honor.

    3                 I have nothing further.

    4                 THE COURT:    Thank you.

    5                 Redirect.

    6                 MR. RICHARDSON:    Yes, your Honor.

    7                 THE COURT:    Actually, before we start we'll take

    8     our morning break.

    9                 MR. RICHARDSON:    Okay.

   10                 THE COURT:    Resume in 15 minutes.

   11                 Please do not discuss the case among yourselves or

   12     with anybody else.      Please do not form any opinion.

   13                 Thank you.

   14                 (Whereupon, the jury exited the courtroom at

   15                 10:30 a.m.)

   16                 (A break was taken at this time from 10:30 a.m. to

   17                 10:51 a.m.)

   18                 (Whereupon, the jury entered the courtroom at

   19                 10:51 a.m.)

   20                 THE COURT:    All right.   Please be seated.

   21                 Back on the record.

   22                 The jurors are all present.      Counsel are present.

   23                 And Mr. Richardson, you may proceed.

   24                 MR. RICHARDSON:    Thank you, your Honor.

   25     ///

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    1                             REDIRECT EXAMINATION

    2     BY MR. RICHARDSON:

    3     Q.    Mr. Kahrs, Mr. Ellis made much of the fact that your

    4     number here from your report, the profit number for Hellenic,

    5     is different than the $16,978 that you arrived at earlier

    6     today.

    7                   Why was this number different today?

    8     A.    The difference between the number in my report and the

    9     number today is the deduction of the cost of duties and

   10     freight and the other number called cost of sales.         And

   11     initially I had deducted those as proper expenses, but my

   12     understanding is the testimony in this case was that there

   13     was never by the defendants a proper allocation method.          And

   14     since I don't have any of the backup, I can't test that

   15     allocation.     So I just didn't deduct it.

   16     Q.    Okay.    So if we look back at the rough notes I made

   17     earlier that we marked as Exhibit 155, the numbers you're

   18     talking about are these two numbers here?

   19     A.    That's correct.    $1,862 --

   20     Q.    Now, Mr. Ellis also made much of the fact that the

   21     number you arrived at today, the $2,614, is a little bit

   22     higher than the number you arrived at in your report.

   23                   Did the methodology between what you testified to

   24     or wrote out in your report differ any than the way we

   25     arrived at the numbers here today?

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    1     A.    The methodology is the same.      It was just applied to a

    2     different sales number.

    3     Q.    Okay.    And the sales number you used to arrive at the

    4     numbers in your report as to Linen Source were what?

    5     A.    The sales made by Hellenic to Linen Source.

    6     Q.    And, in fact, those are the numbers we walked through

    7     earlier today in what I've marked as 154; correct?

    8     A.    That's correct.

    9     Q.    And the other method that we walked through the other

   10     day and again today on Exhibit 153 -- what are the

   11     differences between the two?

   12                   MR. ELLIS:   Objection.   Cumulative.   Beyond the

   13     scope.

   14                   THE COURT:   Overruled.

   15                   THE WITNESS:   I didn't understand.

   16                   The differences between --

   17     BY MR. RICHARDSON:

   18     Q.    Well, let's put them side by side.

   19                   We did two different calculations as to Linen

   20     Source.

   21     A.    Right.    Yeah.

   22                   The only differences is which number you apply the

   23     margin to, which sales figure.

   24     Q.    Okay.    And the one on the left here -- what number are

   25     you using?

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    1     A.    $2,370, which is the sales Linen Source made to its

    2     customers.

    3     Q.    So that's looking at -- if the infringement -- we're

    4     going to measure it by the sales made to Linen Source's

    5     customers; correct?

    6     A.    Correct.

    7     Q.    And then another methodology we see on the right-hand

    8     side -- what are those sales?

    9     A.    Those are the sales to Linen Source.

   10     Q.    So if the lost sales is if Classic Concepts had made the

   11     sales to Linen Source; correct?

   12     A.    If -- if that's the measure of damages, then I've done

   13     the calculation, yes.

   14     Q.    Okay.    Now, do you decide which method is the proper

   15     method?

   16     A.    No.

   17     Q.    Who gets to decide that?

   18     A.    That would be the jury, it's my understanding.

   19     Q.    And what we've done here is provide the numbers,

   20     whichever way the jury decides to look at them; correct?

   21     A.    Correct.

   22                   MR. RICHARDSON:   No further questions, your Honor.

   23                   THE COURT:   Thank you.

   24                   Recross?

   25                   MR. ELLIS:   Yes, your Honor.

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    1                             RECROSS-EXAMINATION

    2     BY MR. ELLIS:

    3     Q.    Now, you said that the only change here was that you

    4     deducted items that you feel were not supported; is that

    5     right?

    6     A.    On the Hellenic's profits numbers, yes.

    7     Q.    And that's not true; right?

    8     A.    It is true.

    9     Q.    No, it isn't.

   10                   You said that the margin you used here was

   11     46.6 percent; right?

   12     A.    On the Classic's --

   13     Q.    Well --

   14     A.    That's Hellenic's profits, not Classic's profits.

   15     Q.    Well, on the Hellenic profits, what number did you times

   16     it by?

   17     A.    Well, actually, I used the purchase invoice and the

   18     other information on exhibit -- is that 109?

   19     Q.    Right.

   20     A.    Yes.

   21                   So I didn't do any multiplication on the Hellenic's

   22     products.

   23     Q.    Sure.

   24                   Now, what did you do was in your first analysis you

   25     did take out general overhead; right?

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    1     A.    Correct.

    2     Q.    And you -- this time you took out duties and freight;

    3     right?

    4     A.    I did not take out duties and freight.       The first

    5     time -- in my report I did, but based on what I have learned

    6     since then, I would not take it out.

    7     Q.    Right.

    8                 And you know that there is duties and freight paid;

    9     right?

   10     A.    I know there is, but I don't know the amount.

   11     Q.    And you know it could be higher than the estimate that

   12     Hellenic did on 109; right?

   13     A.    I would be speculating, but it could be, yes.

   14     Q.    And it could be lower; right?

   15     A.    It could be, yes.

   16     Q.    But you just didn't allocate anything for that; right?

   17     A.    I have no basis to allocate it.

   18     Q.    Is that a yes?

   19     A.    Can you read back the question, please.

   20                 THE COURT:    No.

   21                 You answered it.

   22                 Are you saying you don't understand the question?

   23     Do you want it read back?

   24                 THE WITNESS:    I thought I did answer it by saying

   25     I had no basis to allocate it.

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    1                   THE COURT:   The --

    2                   MR. ELLIS:   Can I try again, your Honor?

    3                   THE COURT:   Try again.   Rephrase it.

    4     BY MR. ELLIS:

    5     Q.    Now, try to focus on my question, Mr. Kahrs.

    6     A.    Okay.

    7     Q.    You know that there are duties and freights that would

    8     be paid in some amount; correct?

    9     A.    Correct.

   10     Q.    And you place no amount towards that; correct?

   11     A.    Correct.

   12     Q.    Although you did in the first instance; right?

   13     A.    Correct.

   14     Q.    And your decision to place no value towards that is a

   15     result of your conversations with Mr. Singh and Mr. Soni;

   16     right?

   17     A.    Yes.

   18     Q.    Now, with respect to actual profits, Mr. -- you said

   19     that the only change here was that you began with a new

   20     starting number; right?

   21     A.    No.    The only change in the actual profits is the

   22     margin.

   23     Q.    Okay.

   24     A.    50 to 46.6.

   25     Q.    So you did change your methodology with respect to

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    1     margin; right?

    2     A.    It's a same methodology, different margin.

    3     Q.    Well, you say, "tomato"; I say, "tomato."

    4                  You didn't use the same number to calculate the

    5     margin; right?

    6     A.    I multiplied it towards the same number.

    7     Q.    Well, I know multiplication remains the same no matter

    8     if you times it by 50 percent or 46.6 percent.         But what I'm

    9     trying to get at is that did you change a number in your

   10     analysis that would be used to calculate actual profits; is

   11     that right?

   12     A.    Yes.

   13     Q.    Now, for Linen Source you did change the starting

   14     number; right?

   15     A.    Yes.

   16     Q.    And that's with respect to the actual profits?         You used

   17     the higher starting number; right?

   18     A.    To calculate Classic's profits, yes.

   19     Q.    And that's what I -- you understood that to mean when

   20     I said your actual damage number you used the higher starting

   21     number?

   22                  You understood that?

   23     A.    Yes.

   24     Q.    And you also used a different margin when you calculated

   25     the profits; right?

                             UNITED STATES DISTRICT COURT
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    1     A.    Correct.

    2     Q.    And in doing all of that, the number that you've come up

    3     with is now higher; right?

    4     A.    Yes.

    5     Q.    And in doing all that you did with respect to Hellenic,

    6     the number is now higher; right?

    7     A.    Correct.

    8     Q.    Thank you.

    9                  MR. ELLIS:   Nothing further, your Honor.

   10                  THE COURT:   Thank you.

   11                  Redirect?

   12                  MR. RICHARDSON:   Yes, your Honor.     Just a couple of

   13     questions.

   14                         FURTHER REDIRECT EXAMINATION

   15     BY MR. RICHARDSON:

   16     Q.    Now, what percentage of -- or margin did you use in your

   17     report?

   18     A.    50 percent.

   19     Q.    And in doing the numbers that we have done here today

   20     and the other day, what margin did you use?

   21     A.    46.6 percent.

   22     Q.    Why the change?

   23     A.    Well, initially my 50 percent margin was based on

   24     conversations with Mr. Soni.      I had actually also looked at

   25     Hellenic's margin, which comes out to 49.34 percent; so it

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    1     seemed pretty close.     It seemed within industry standards.

    2     And on a, you know, $30,000 damage number, I didn't think

    3     there was a large margin for error.       I since saw a financial

    4     statement which reflected a 46.6 percent number.         So I used

    5     the actual rather than the estimate.

    6     Q.    Well, isn't the 46.6 percent number the number that was

    7     used by Mr. Strombom?

    8                 MR. ELLIS:   Objection.    Leading.

    9                 THE COURT:   Overruled.

   10                 THE WITNESS:    Yes.

   11     BY MR. RICHARDSON:

   12     Q.    And so for the sake of argument and -- rather, to avoid

   13     argument, you reduced the number from which your original

   14     calculation was at 50 percent and simply used the number that

   15     the defendant's own expert used; correct?

   16                 MR. ELLIS:   Objection.    Leading.

   17                 THE COURT:   Overruled.

   18                 THE WITNESS:    Yes.

   19                 MR. RICHARDSON:    No further questions, your Honor.

   20                 THE COURT:   Thank you.

   21                 Anything further?

   22                         FURTHER RECROSS-EXAMINATION

   23     BY MR. ELLIS:

   24     Q.    So I take it then you agree with Mr. Strombom on that

   25     point; right?

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    1     A.      On the margin at being 46.6 percent, yes.

    2                  MR. ELLIS:    Nothing further, your Honor.

    3                  THE COURT:    All right.    Anything further?

    4                  MR. RICHARDSON:   Nothing further, your Honor.

    5                  THE COURT:    Defense?

    6                  MR. ELLIS:    Nothing, your Honor.

    7                  MR. STOVER:    Nothing, your Honor.

    8                  THE COURT:    No further rebuttal?

    9                  MR. ELLIS:    No, sir.

   10                  THE COURT:    All sides rest?

   11                  MR. RICHARDSON:   Nothing with this witness, you

   12     mean?

   13                  THE COURT:    Oh, you have another rebuttal witness?

   14                  You hold on.

   15                  Everybody finished with this witness?

   16                  MR. SONI:    We're all finished with this witness.

   17                  THE COURT:    The witness is excused.

   18                  Thank you.

   19                  THE WITNESS:    Thank you.

   20                  THE COURT:    Mr. Singh?

   21                  MR. SONI:    Mr. Harpal Singh to the stand, your

   22     Honor.

   23                  THE COURT:    Mr. Singh, you understand you already

   24     have been sworn; you are still under oath?

   25                  THE WITNESS:    Yes, sir.

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    1                  THE COURT:   Okay.   Have a seat.

    2                                 HARPAL SINGH,

    3     called as a witness by counsel for the plaintiff being first

    4                     duly sworn, testified as follows:

    5                               DIRECT EXAMINATION

    6     BY MR. SONI:

    7     Q.     Good morning, Mr. Singh.

    8     A.     Good morning.

    9     Q.     Were you in the courtroom when Mr. Rogakos testified,

   10     sir?

   11     A.     Yes, sir.

   12     Q.     Do you remember Mr. Rogakos indicating that -- or

   13     testifying about the number of catalogs Pottery Barn puts out

   14     in a year?

   15     A.     Yes, sir.

   16     Q.     Is your understanding about the number of catalogues put

   17     out by Pottery Barn different than Mr. Rogakos's testimony?

   18                  MR. ELLIS:   Objection.   Leading.

   19                  THE COURT:   Sustained.

   20     BY MR. SONI:

   21     Q.     Do you have an understanding of how many catalogs

   22     Pottery Barn puts out in a year?

   23     A.     Yes, sir.

   24     Q.     How do you know that?

   25     A.     Through my regular interactions with the buyers at the

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    1     Pottery Barn, through my visits to them every few weeks,

    2     through the catalogs I receive in the mail all the time, with

    3     the fact that I've been working with them for the last

    4     17 years.

    5                  THE COURT:   Slow down, please.

    6                  THE WITNESS:   For the last 17 or 18 years.

    7     BY MR. SONI:

    8     Q.      And how many catalogs does Pottery Barn put out in a

    9     year?

   10                  MR. ELLIS:   Objection.   Cumulative.    Case-in-chief.

   11                  THE COURT:   Overruled.

   12                  THE WITNESS:   At the very minimum 12 or more.

   13     BY MR. SONI:

   14     Q.      And do you know what catalogs they do put out in a year?

   15     A.      Yes, sir.

   16                  MR. ELLIS:   Objection.   Foundation.

   17                  THE COURT:   Sustained.

   18     BY MR. SONI:

   19     Q.      You receive the catalogs from Pottery Barn?

   20     A.      Yes, sir.

   21     Q.      Do you receive catalogs from Pottery Barn seasonally?

   22     A.      Yes, sir.

   23     Q.      How many catalogs does Pottery Barn put out in the

   24     spring?

   25     A.      In the spring there was a minimum of three catalogs.       It

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    1     starts with an early spring, followed by spring, followed by

    2     late spring.

    3     Q.      Is -- and how many catalogs does Pottery Barn put out in

    4     the summer?

    5     A.      It's the early summer catalog.    Then there's a different

    6     cover in the spring -- sorry.      In the summer that's followed

    7     by late summer.

    8     Q.      And is it -- how many does Pottery Barn put out in the

    9     fall?

   10     A.      They start with early fall, and they follow that up with

   11     fall, and then there's an autumn catalog.

   12     Q.      And what do they do in the winter?

   13     A.      They have early winter; they have winter; and they have

   14     late winter.

   15     Q.      Now, are you -- do you understand the concept of

   16     inventory balancing?

   17     A.      Yes, sir.

   18     Q.      What do you understand that to mean?

   19     A.      Well, for example, a company -- if it's a catalog in a

   20     retail store and they buy inventory for both the divisions,

   21     when it comes closer to the life cycle, the end of the life

   22     cycle of a product -- they analyze the inventory.

   23                  And if one -- for example, if the retail store has

   24     greater inventory than the catalog, then the catalog ends up

   25     ordering -- getting inventory from the retail store.          So they

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    1     end -- so the situation is they don't end up with, A, either

    2     ordering the inventory or discounting the inventory at the

    3     end of the season.

    4     Q.    And do you -- in your experience and dealings with

    5     Pottery Barn, does Pottery Barn employ inventory balancing?

    6     A.    Yes, sir.    When they carry a product in the retail

    7     stores and in the catalogs closer to the end of life cycle,

    8     this happens all the time.

    9     Q.    So inventory might be moved from the retail to the

   10     catalog to satisfy demand?

   11     A.    Or vice versa, yes, sir.

   12     Q.    Now, in your sales -- in Classic Concepts sales to its

   13     customers, do you charge your customers for shipping?

   14     A.    No, sir.

   15     Q.    And in connection with your reported sales numbers, do

   16     you include any shipping income in your total sales?

   17     A.    No.   If we don't charge them for shipping, we don't

   18     report it in the numbers.

   19     Q.    And if you do charge them for shipping, do they pay for

   20     that separately?

   21     A.    Yes, sir.

   22     Q.    Does Classic Concepts incur sales commissions in

   23     connection with the sales of the Diamond Kilim rugs?

   24     A.    No.   There were no commissions involved since I was the

   25     contact person for Diamond Kilim rugs.

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    1     Q.    In the year 2003, sir, would Classic Concepts have been

    2     able to produce 482 rugs in the Diamond Kilim rug design?

    3     A.    Absolutely, sir, because we have been raising our

    4     production capacity since the mid '90s, and we have plenty of

    5     capacity -- we had enough capacity in 2003 that we had

    6     started building up in the mid '90s to be able to cater to

    7     the need of 400 audience.

    8     Q.    In the time period that was allowed for delivery by

    9     Surya on the orders placed by Hellenic, could your company

   10     have produced the Diamond Kilim rug designs for Hellenic if

   11     they were ordered from you?

   12     A.    Yes, sir.

   13                 MR. SONI:    No further questions.

   14                 THE COURT:    Thank you.

   15                 Recross?

   16                 We can move that easel, unless you're going to use

   17     it.

   18                 Thank you.

   19                               CROSS-EXAMINATION

   20     BY MR. ELLIS:

   21     Q.    You're not trying to --

   22                 MR. ELLIS:    May I proceed, your Honor?

   23                 THE COURT:    Yes.

   24     BY MR. ELLIS:

   25     Q.    You're not trying to say that inventory normalization is

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    1     what explains the fact that your Exhibit 46 shows 4,000 sales

    2     to the Pottery Barn retail as opposed to 700 sales to the

    3     catalog, are you?

    4                 MR. SONI:    Leading and mischaracterizing the

    5     evidence.

    6                 THE COURT:    Leading?

    7                 MR. SONI:    Leading and mischaracterizes the

    8     evidence, your Honor.

    9                 THE COURT:    This is cross.

   10                 MR. SONI:    This is cross.    It's --

   11                 THE COURT:    Overruled.

   12                 THE WITNESS:    Could you please repeat the question.

   13     I'm not sure I understood it.

   14     BY MR. ELLIS:

   15     Q.    Let me try again.    You're not saying that inventory

   16     normalization that just talked about with Mr. Soni explains

   17     why Pottery Barn retail ordered 4,000 of the Diamond Kilim

   18     products as opposed to Pottery Barn catalog, which ordered

   19     only 700, are you?

   20     A.    I'm still not understanding the question actually.

   21     Q.    Well, Mr. Singh, let me ask you like this.

   22                 Is inventory normalization the reason why your

   23     company only sold 700 products to the catalog.

   24     A.    Our company sold product to Pottery Barn based on their

   25     needs.   I cannot make a judgment on the rest of the details.

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    1     Q.    Well, you're the CEO of the company; correct?

    2     A.    Yes, I am.

    3     Q.    You're the one that testified that your products

    4     appeared in the catalog 18 separate times; right?

    5     A.    Yes, sir.

    6     Q.    And based on that, didn't you take any inventory --         any

    7     attempt before you came to testify to this jury to determine

    8     how many specific products you sold through the catalog?

    9                  MR. SONI:    Argumentative.   Beyond the scope.

   10                  THE WITNESS:   No.

   11                  THE COURT:    Overruled.

   12                  THE WITNESS:   No.

   13     BY MR. ELLIS:

   14     Q.    You didn't do that, did you?

   15     A.    No.

   16     Q.    Now, you say that you could have produced the products

   17     that were sold by Hellenic in Linen Source.

   18                  Am I understanding your testimony correct?

   19     A.    Yes.

   20     Q.    But you also testified in your case-in-chief on direct

   21     examination that it was a huge burden to make that first

   22     2,000 order for Pottery Barn; right?

   23     A.    In 1998 it was.

   24     Q.    And you said that you had to find every available loom

   25     to have various people produce those rugs; right?

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    1     A.    Absolutely.

    2     Q.    And when Hellenic and Linen Source were selling their

    3     products in 2004, you were selling the pillow and the ottoman

    4     at Crate and Barrel; right?

    5     A.    Not in 2003 -- yes, I was.

    6     Q.    You were selling to Crate and Barrel; right?

    7     A.    Yes, sir.

    8     Q.    Now, you sold 5,000 of those items; right?

    9     A.    Yes, sir.

   10     Q.    And the 482 sold by Hellenic would have been an

   11     additional amount that you would have had to have sold;

   12     right?

   13     A.    Yes.

   14     Q.    And when you were at Pottery Barn and you were dealing

   15     with the Diamond Kilim rugs, you were producing other

   16     products for Pottery Barn; right?

   17     A.    Yes, sir.

   18     Q.    And that placed a burden on you as well to try to meet

   19     the orders for Pottery Barn for the Diamond Kilim rugs and

   20     also to produce the other products you were selling to

   21     Pottery Barn; right?

   22     A.    That is correct.

   23                  THE COURT:   Mr. Ellis, could you slow down on your

   24     questions too, please.

   25                  MR. ELLIS:   Sure.

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    1                 Now, I would like to publish Exhibit 5, your Honor.

    2                 THE COURT:    You may.

    3                 MR. ELLIS:    It's in?

    4                 THE COURT:    I believe it's in.

    5                 MR. ELLIS:    And on Page 5 --

    6                 THE COURT:    That's it.

    7                 MR. ELLIS:    And on the left I would like to have

    8     Page 57 of that document.

    9                 MR. SONI:    Could we have the Bates number on that.

   10                 MR. ELLIS:    Mr. Stover -- may I ask counsel for

   11     that, your Honor.

   12                 THE COURT:    Yes.

   13                 Mr. Stover, what's the Bates number?

   14                 MR. STOVER:   Your Honor, I believe the Bates number

   15     should be CC00338.

   16                 THE COURT:    That appears correct.

   17     BY MR. ELLIS:

   18     Q.    That Page 57 of Exhibit 5 is a picture of the Diamond

   19     Kilim rug; correct?

   20     A.    Yes, sir.

   21                 MR. ELLIS:    Now, if I could publish, your Honor,

   22     Pages 70 and 71.

   23                 On the left and right page, Mr. Stover, of the same

   24     exhibit.

   25                 THE COURT:    Give us that Bates number again,

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    1     please.

    2                  MR. STOVER:   Your Honor, Bates number on Page 70 of

    3     Exhibit 5 should be CC00351 followed by Bates number --

    4                  THE COURT:    352?

    5                  MR. STOVER:   -- 352.

    6                  MR. ELLIS:    May I publish, your Honor?

    7                  THE COURT:    You may.

    8     BY MR. ELLIS:

    9     Q.     Mr. Singh, this Diamond -- this rug that's in the

   10     Pottery Barn catalog is another one of your rugs, isn't it,

   11     sir?

   12     A.     Yes, sir.

   13     Q.     What's it called?

   14     A.     I believe it's called the Red Bull Kilim.       I'd have to

   15     check the name of what this is called.        It was several years

   16     ago.

   17     Q.     Well, let's blow it up and see if we can help you.

   18                  Now, this isn't a rug that you copyrighted; right?

   19     A.     No.

   20     Q.     And this isn't a rug that you saw being sold by Pier 1;

   21     right?

   22     A.     No.

   23     Q.     But you did make a number of these red wool rugs for

   24     Pottery Barn and sold them to them; right?

   25     A.     Yes, sir.

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    1     Q.    And you made all those during the same period of time

    2     that you were selling your Diamond Kilim products; right?

    3     A.    Yes, sir.

    4                 MR. ELLIS:    Now, if I could have Mr. Stover on the

    5     left Page 71, and on the right Page 27 of Exhibit 46.

    6                 And if you could assist the Court -- Page 27.        If

    7     you could assist the Court with the Bates number on that

    8     document, I would appreciate it.       I believe it's depicted on

    9     the screen as well, Mr. Stover.

   10                 MR. STOVER:   It appears to be Bates Number CC00497.

   11                 MR. ELLIS:    If I could highlight the body of that

   12     document, Mr. Stover.

   13     BY MR. ELLIS:

   14     Q.    Now, this is one of your PO's that you received from

   15     Pottery Barn; correct?

   16     A.    Yes, sir.

   17     Q.    And the Diamond Kilim is depicted on this -- on this PO;

   18     right?

   19     A.    Yes, sir.

   20     Q.    And the red wool is depicted on this PO; right?

   21     A.    Yes, sir.

   22     Q.    And it appears to me that you sold at this point in time

   23     110 Diamond Kilims on this PO and 77 red wools; right?

   24     A.    If that is accurate.     I cannot cite numbers very

   25     clearly, but if that is what is stated, then that would be

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    1     true.

    2     Q.      And this is during the period of time when all of

    3     Panipat was making the Diamond Kilim rugs?

    4     A.      Yes, sir.

    5     Q.      And I assume that there must have been somebody that was

    6     making the red wool rugs; right?

    7     A.      I think it's mischaracterized when you say that all of

    8     Panipat was making all of our rugs.       I didn't say only

    9     Diamond Kilim rugs.

   10     Q.      Oh, huh.

   11     A.      And I also said that --

   12     Q.      Hold on.

   13                  THE COURT:    There's no request question pending.

   14     BY MR. ELLIS:

   15     Q.      Hold on.    Let me make sure I get this one.

   16                  Now, if I'm correct, you're telling me that it

   17     wasn't that all up and down the streets, under sheds people

   18     were making your specific Diamond Kilim rugs, which is

   19     Exhibit 1.

   20                  They were making all of your rugs; right?

   21     A.      My testimony was we were making several.

   22     Q.      Yes or no, Mr. Singh?

   23     A.      My testimony was we were --

   24     Q.      Yes or no, Mr. Singh?

   25     A.      If you would please repeat the question.

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    1     Q.     I will try.

    2                 Now what you're telling me is -- is that it's not

    3     that all of Panipat was lined up and down the streets, under

    4     sheds making only your Diamond Kilim design.         They were

    5     making all of your rugs; correct?

    6     A.     Kilim rugs.

    7     Q.     Now --

    8                 THE COURT:    You have to jump in there, Mr. Soni.

    9                 Proceed.

   10     BY MR. ELLIS:

   11     Q.     If you were Mr. Mazarakis traveling to Panipat walking

   12     up and down the street, you wouldn't have only seen people

   13     weaving your Diamond Kilim rugs, you would have seen them

   14     weaving the red wool rug; right?

   15     A.     They could have seen anything.     I cannot judge what they

   16     would have seen.

   17     Q.     Is that a yes?

   18     A.     My answer is they could have seen anything.

   19     Q.     So -- wait, wait, wait.

   20                 Did you just say you couldn't judge what they would

   21     see?   So is it correct that you can't judge whether or not

   22     they ever saw your Diamond Kilim rug?

   23     A.     I can't make that judgment.

   24     Q.     So you're not saying that they ever specifically saw

   25     your Diamond Kilim rug; right?

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    1     A.    I'm not making that judgment.

    2     Q.    And you're not specifically saying that anybody ever saw

    3     your red wool rugs; right?

    4     A.    Unless I was there looking at them looking at my rugs,

    5     I cannot make that judgment.

    6     Q.    And so you're not saying that Mr. Chaudhary saw your

    7     Diamond Kilim rug; right?

    8     A.    I'm not saying anything.

    9     Q.    And you're not saying that Mr. Chaudhary ever witnessed

   10     your Diamond Kilim rugs being made in Panipat; right?

   11     A.    If Mr. Chaudhary was in Panipat as this production was

   12     being made and if it was in the field of making these kind of

   13     rugs, he had to have seen these rugs.

   14     Q.    Well, see, I've got to get it right because I think you

   15     just told me something different.

   16                 I thought you just said that unless you were there

   17     and you saw him looking at it, you couldn't say whether or

   18     not they saw them there; is that right?

   19                 MR. SONI:    Asked and answered.

   20                 THE COURT:    Overruled.

   21                 THE WITNESS:    I beg your pardon?

   22     BY MR. ELLIS:

   23     Q.    Mr. Singh, unless you were specifically watching

   24     somebody view your rug, you couldn't say one way or another

   25     whether they ever saw it; right?

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    1     A.     Well, unless I'm watching somebody do it, I cannot say.

    2     Q.     And you never were watching Mr. Chaudhary review your

    3     Diamond Kilim rug; right?

    4     A.     No.

    5     Q.     And you never were watching Mr. Mazarakis review your

    6     Diamond Kilim rug; right?

    7     A.     No.

    8     Q.     And you never were watching Mr. Rogakos review your

    9     Diamond Kilim rug; right?

   10     A.     No.

   11     Q.     And you never were watching Mr. Grant review your

   12     Diamond Kilim rug; right?

   13     A.     No.

   14                  MR. ELLIS:   Can I have Exhibit 46, Page 67,

   15     directly in the middle.

   16                  And if you could blow up, Mr. Stover, the top right

   17     that refers to entry date.

   18     BY MR. ELLIS:

   19     Q.     When was this particular PO placed with your company,

   20     Mr. Singh?

   21     A.     I would believe this was on 1-25-99, from what I can

   22     see.

   23     Q.     And if you could go back to the original document and

   24     highlight the part that says order completed.

   25     A.     It says 9-24 of '99.

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    1     Q.    And that's when your company completed production and

    2     shipped the Diamond Kilim rugs that are called for under this

    3     invoice; right?

    4     A.    I would imagine, if that's what it says.

    5     Q.    And it took you eight months to complete this purchase

    6     order; right?

    7     A.    Again, I -- I have to look at what the ship date was,

    8     and based on that I can look at that.        Sometimes the PO's are

    9     placed and you have long windows.       I'm not aware of that.

   10     Q.    Well --

   11     A.    I would have to look at those -- the information again

   12     on that.

   13     Q.    Well, my question is a little bit simpler than that.

   14                 If it was taking you eight months to produce the

   15     Diamond Kilim rugs, what in the world makes you think that

   16     you could have complied with Hellenic's time frame with

   17     respect to the rugs they were getting from Surya?

   18     A.    Five years time frame; number of looms that we had

   19     created; production capacity.      In 1997, 1998, we had

   20     extensive need for production.       We were training weavers.

   21                 THE COURT:   Slow down, please.

   22                 THE WITNESS:    We were training weavers.     We were

   23     creating more looms.     We were working with the demand.       Based

   24     on this demand, you know, the production capacity increased.

   25     And in 2003, you know, our capacity was much larger than it

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    1     was in 1998.

    2     BY MR. ELLIS:

    3     Q.    But in 2003 you didn't sell any rugs; right?

    4     A.    We sold a lot of rugs in 2003.

    5     Q.    In 2003 you did not sell any of the Diamond Kilim rugs;

    6     correct?

    7     A.    We were using the same looms to weave our pillows.

    8                   THE COURT:   Did you sell Diamond Kilim rugs?

    9                   THE WITNESS:   No.

   10     BY MR. ELLIS:

   11     Q.    And in 2004 you did not sell any Diamond Kilim rugs;

   12     right?

   13     A.    No.

   14     Q.    And in 2005 you did not sell any Diamond Kilim rugs?

   15     A.    No.

   16     Q.    And in 2006 you did not sell any Diamond Kilim rugs;

   17     correct?

   18     A.    No.

   19     Q.    What?

   20     A.    I said no.

   21     Q.    And in -- up until today, in 2007, you have not sold any

   22     Diamond Kilim rugs; right?

   23     A.    No.

   24                   MR. ELLIS:   Nothing further, your Honor.

   25                   THE COURT:   Thank you.

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    1                  Redirect?

    2                  Is that a yes?

    3                  MR. SONI:    Yes.

    4                  Your Honor, I think I'll waive redirect.      I think

    5     he's answered the questions.

    6                  THE COURT:    All right.   Anything further from the

    7     plaintiff?

    8                  MR. SONI:    Your Honor, not for this witness.

    9                  The plaintiff rests.

   10                  THE COURT:    All right.   Anything in any

   11     surrebuttal?

   12                  MR. ELLIS:    No, your Honor.

   13                  THE COURT:    Both sides rest?

   14                  MR. ELLIS:    Yes, your Honor.

   15                  THE COURT:    All right.

   16                  MR. ELLIS:    Subject to the admission of the

   17     remaining exhibits, your Honor --

   18                  THE WITNESS:   Was I excused?

   19                  THE COURT:    Yes.

   20                  MR. ELLIS:    -- and any motions.

   21                  THE COURT:    Right.

   22                  All right.    Ladies and gentlemen of the jury, that

   23     completes the evidentiary portion of the case subject to a

   24     couple of matters that I will take up with counsel.

   25                  I am going to excuse you for the rest of the day,

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    1     the reason being I have a wealth of issues that I need to

    2     take up with counsel.     I will be helping them in preparing --

    3     as you know and as you -- as I explained to you, jury

    4     instructions are very important part of the case.         So I will

    5     be giving you those instructions.       I have to coordinate with

    6     counsel in working out those instructions.

    7                 The evidentiary portion is finished.       What remains

    8     is my instructions to you and the closing arguments of

    9     counsel.

   10                 Again, I say to you, please do not form any opinion

   11     on the case.    Do not discuss the case amongst yourselves or

   12     with anyone else.     Even though we're through with the

   13     evidentiary portion, you are not to form any opinion or

   14     discuss the case until, as I say, we've completed jury

   15     instructions and closing argument and you're up in the jury

   16     room deliberating, which will occur tomorrow.

   17                 And so at this point I will excuse you until

   18     10:00 o'clock tomorrow.      And have a nice evening.     Get a good

   19     jump on the traffic today, and we'll see you tomorrow.

   20                 Thank you.

   21                 (Whereupon, at 11:22 a.m., the jury exited the

   22                 courtroom.)

   23                 THE COURT:    All right.   Please be seated.

   24                 For the record, the jurors are no longer present.

   25                 I want to take up the motions now.

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    1                 Well, let me first -- where are the evidentiary --

    2     other than 218 and 109, any other evidentiary issues?

    3                 MR. ELLIS:    Well, 218 is not our issue.

    4                 THE COURT:    I understand.

    5                 I'm saying are there any other exhibit issues?

    6                 MR. ELLIS:    Can I have a moment, your Honor --

    7                 THE COURT:    Sure.

    8                 MR. ELLIS:    -- or can I just take up something

    9     else, and I'll have an answer for the Court?

   10                 THE COURT:    Sure.

   11                 Let me take up the 218 and 109 later, and that is

   12     plaintiff's motion to exclude Exhibits 218 and 109.

   13                 Anything further on that?     I've got the motion and

   14     I believe I have the opposition to that -- yes, I do -- which

   15     I got this morning, which I have looked at.

   16                 Anything further?

   17                 MR. SONI:    Your Honor, we'll, of course, answer any

   18     questions you have.      The papers, I think, fairly encompass

   19     all of the issues.      I don't want to repeat what the Court

   20     already knows.

   21                 THE COURT:    Okay.   Anything further from the

   22     defense?

   23                 MR. ELLIS:    No, your Honor.

   24                 THE COURT:    Okay.   I've read the papers.    The

   25     motion is denied.

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    1                 All right.    Next, motion -- plaintiff's motion for

    2     sanctions for -- I believe this relates to the identification

    3     of super rugs.

    4                 Anything to add on that?

    5                 MR. SONI:    In view of the defendant's

    6     acknowledgement that they received this information at least

    7     at the start of trial, and Mr. Chaudhary's testimony that he

    8     provided it back as early as October of 2004, that clearly

    9     was withholding it as evidence, and we believe that sanctions

   10     are appropriate.

   11                 THE COURT:    Mr. Ellis?

   12                 MR. ELLIS:    We've argued the point, your Honor.

   13     Nothing further.

   14                 THE COURT:    Motion is denied.

   15                 All right.    I'll hold that for one second.

   16                 There's a motion that I want to deal next with, the

   17     motion to strike the testimony of plaintiff's -- Kahrs, the

   18     plaintiff's expert.      Again, I did with -- by the way, I

   19     didn't mention with respect to the motion for sanctions --

   20     plaintiff's motion for sanctions, was there any -- I don't --

   21     was there any written opposition to that?

   22                 MR. ELLIS:    It was all oral, your Honor, and we

   23     rest on the oral.

   24                 THE COURT:    Just confirming.    I'm just confirming.

   25                 All right.    The motion to strike the testimony of

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    1     Mr. Kahrs -- anything -- I'll hear from the defendants first.

    2                 MR. ELLIS:    Your Honor, we filed our papers.

    3                 I would just only add to those papers the testimony

    4     that was elicited over cross-examination this morning, which

    5     clearly shows that Mr. Kahrs has changed his opinions, and

    6     the result of those is to present a higher damage figure to

    7     the jury.

    8                 THE COURT:    Okay.   And plaintiff?

    9                 I've got your opposition.

   10                 MR. SONI:    Thank you, your Honor.

   11                 Mr. Kahrs has testified as to the methodology that

   12     should be applied in computing plaintiff's damages and in

   13     computing defendant's profits.       His testimony remains

   14     consistent.    He updated it in view of the testimony that was

   15     elicited at trial from the defendants in which they expressly

   16     acknowledged that they had not produced all customs and

   17     freight documents, had not produced any overhead documents.

   18     In view of that he updated that analysis.

   19                 THE COURT:    It seems to me you are concerned that

   20     you found out about -- you contend that he should have

   21     updated when he found out about super rugs a week or a

   22     whatever, a few days before.      And, again, here the -- there

   23     was no evidence made while Mr. -- I can never pronounce this

   24     name -- in Surya.

   25                 MR. ELLIS:    "Chaudhary."

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    1                  THE COURT:    Yeah.

    2                  Said that he made that statement.      There was no

    3     confirmation that that ever actually happened or that the

    4     defense knew about it.      But you concede that he knew about it

    5     the day before, but you had to have known that your expert

    6     was going to change his opinion.

    7                  Did you advise them that he was going to change his

    8     report?

    9                  MR. SONI:    They examined him at length during his

   10     deposition, at which time he described the methodology he

   11     would use.    He indicated --

   12                  THE COURT:    No, I'm asking a simple question.

   13                  He conceded today he changed his information.       He

   14     made some adjustments.

   15                  MR. SONI:    He made adjustments.

   16                  THE COURT:    Did you ever tell the defense there are

   17     some changes to the report before you put him on the stand?

   18     You knew it was going to happen.

   19                  MR. SONI:    We knew it was going to happen only

   20     after the evidence was elicited from the defendants during

   21     trial.

   22                  THE COURT:    Okay.   And at some point he just

   23     testified in conversations with you and with Mr. Singh he

   24     changed his testimony from his report.

   25                  Did you ever tell the defense that was going to

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    1     happen?

    2                 MR. SONI:    He did that, your Honor, after

    3     examination.    It was the same day that the defendants say --

    4     it was the same day or the next day that the defendants

    5     provided their testimony.

    6                 THE COURT:    When he first testified -- there were

    7     some changes when he first testified.

    8                 MR. SONI:    When he first testified, he made

    9     adjustments based upon the evidence he heard and was told

   10     that the defendants produced.

   11                 THE COURT:    It seems to me what is good for the

   12     goose is going to be good for the gander if you're going to

   13     make that position.

   14                 But anything else?

   15                 MR. SONI:    In sum, your Honor, Mr. Kahrs did not,

   16     in his report nor on the stand, provide a specific number

   17     that he believes is awarded.      But what he did was

   18     computations under the various methodologies so the jury can

   19     ultimately decide.

   20                 THE COURT:    Thank you.

   21                 Mr. Ellis?

   22                 MR. ELLIS:    I don't know where the Court is leaning

   23     on this issue but --

   24                 THE COURT:    You'll find out in few moment.

   25                 MR. ELLIS:    I know that, your Honor.

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    1                 The only thing I would have in response is that --

    2     we did make a second point here, your Honor, is that if the

    3     expert report is going to have meaning, if the Rule 26 is

    4     going to have meaning, they certainly cannot go higher than

    5     what they had in the expert report because that changes the

    6     whole case.

    7                 THE COURT:    Okay.   Thank you.

    8                 All right.    The -- in my view with respect to the

    9     change, yes.    The witness did concede he changed his

   10     position.    The changes to me appear and the dollar figures on

   11     this case, I was considering transferring it to small claims.

   12     The changes I think -- I don't think there was a significant

   13     change in methodology.     I don't think -- and I don't think

   14     the numbers change this significantly where there's such a

   15     dramatic change that this was the type of thing where

   16     sanctions would be appropriate or we're -- he violated his

   17     duties.    I think that it appeared to me the cost was handled

   18     quite well, and it seems to me that the defense recovered

   19     pretty well from what were -- some modifications.         I think

   20     those -- his modifications and everything, significant

   21     changes.    Therefore, the motion is denied.

   22                 And, finally, I'll deal with the motion for

   23     judgment as a matter of law.

   24                 MR. SONI:    Your Honor, before we get to that there

   25     was also a motion with respect to Mr. Strombom, defendant's

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    1     expert.

    2                 THE COURT:    Yes.   You're right, yes.

    3                 MR. SONI:    Mr. Strombom was apparently provided a

    4     financial statement which he relied upon to do his

    5     computations, which was never provided to the plaintiff

    6     during discovery.     And Mr. Rogakos testified that it was

    7     never provided.    We've asked for Mr. Strombom's testimony to

    8     be -- to be stricken because of that.

    9                 THE COURT:    Mr. Ellis?

   10                 MR. ELLIS:    It's the same ruling that the Court

   11     made with respect to 109 and 218, same consistent position on

   12     both sides, I believe.

   13                 THE COURT:    Well, what about -- there was some

   14     evidence, was there not -- there was something that was not

   15     provided.    I mean, I am, frankly, not persuaded by

   16     plaintiff's sweeping claims that evidence hasn't been

   17     provided during discovery.

   18                 There was testimony that the documentary --

   19     underlying documentary evidence was provided.         I have not had

   20     identified, with respect to seeing some more specific

   21     indications from the plaintiff, as to what hasn't been

   22     provided given these sweeping allegations, but there was

   23     testimony, was there not, at least as to one document.

   24                 MR. ELLIS:    Yes.   That's correct, your Honor.

   25                 But I guess what I'm saying, your Honor, is that

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    1     there was not a financial report that was produced that

    2     Mr. Strombom had requested directly from the client that

    3     had --

    4                 THE COURT:    Slow down.   Slow down.

    5                 MR. ELLIS:    Sure, your Honor.

    6                 And so that is the document that they're claiming

    7     should have been produced to test the credibility of

    8     Exhibit 109.    What I'm saying is that if the Court, having

    9     considered that issue with respect to 109, it's the same

   10     issue with respect to Mr. Strombom in his testimony.

   11                 The other point that I would add, your Honor, is

   12     that where we are, based on the Court's rulings, if it

   13     appeared to be appropriate, they have now elicited from their

   14     expert that you can't consider the reduction in cost and so

   15     they've thrown those out.

   16                 And that's exactly what should happen at the trial,

   17     at least in my mind.     If you don't bring a motion to deal

   18     with it in discovery, you attack the credibility of the

   19     document, you attack the credibility of the witnesses, but

   20     you don't exclude the witnesses entirely because that's just

   21     too severe of a sanction without any proper showing of bad

   22     faith.

   23                 MR. SONI:    What we have is an admission they didn't

   24     produce the financial statements.       What we have is an expert

   25     that relied upon a financial statement.        26-A, 37-D, the

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    1     pretrial conference rules, all of the rules of -- the federal

    2     rules make it real clear that if you don't produce something

    3     you can't rely on it at trial.       Their expert relied on it.

    4                 The general and administrative expenses and

    5     overhead are specifically drawn from the financial statement.

    6     He claimed that the shipping expenses, the customer's freight

    7     expenses were also verified through the financial statements,

    8     never produced to us, and it must be stricken.

    9                 109 also replied upon the same documents.        It was

   10     a litigation document that the defendants created.         We

   11     objected to that.     Your Honor ruled it's admitted, and your

   12     Honor is going to allow that.      But there is no justification

   13     to allow them to withhold evidence during discovery, admit

   14     that they withheld that evidence, rely upon it with their

   15     expert, and present it to the jury.       It should be stricken.

   16                 THE COURT:   It's denied.

   17                 Next I've got the motion for judgment as a matter

   18     of law, and I've got your opposition to it.

   19                 You're the moving party on it, Mr. Ellis.

   20                 MR. ELLIS:   Your Honor, this particular motion for

   21     judgment of law I think really speaks to the central issue in

   22     this case and the quality of the evidence.        The question

   23     presented by this motion is whether or not the unsupported,

   24     oft-contradicted and suddenly changed testimony of Harpal

   25     Singh is enough to get this case to the jury.         As our papers

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    1     set forth, we believe it is not.

    2                 The only showing of access that was ever made by

    3     the plaintiffs with respect to the person who could have been

    4     influenced by the design was testimony elicited by Mr. Singh

    5     which, under cross-examination of the rebuttal case, he

    6     recanted.

    7                 On direct, in his case-in-chief, he talked about

    8     trade shows.    He talked about rugs being made all across

    9     Panipat that Mr. Sudhar Chaudhary would have had to have

   10     seen.

   11                 In his rebuttal case, he acknowledged and admitted

   12     that he could not say for sure that Mr. Chaudhary ever saw

   13     the rug.

   14                 THE COURT:   But isn't it true in copyright law if

   15     the jury concluded that the designs were sufficiently

   16     similar, access may be precluded?

   17                 MR. ELLIS:   No.   It is not correct to say that.

   18                 THE COURT:   If I write a book, and you write

   19     virtually the same book, and excluding the old saw that if

   20     you put -- what's the old one?       A thousand books that wrote

   21     the Encyclopedia Britannica and the jury concludes that it is

   22     exactly verbatim the book that I wrote, that may be

   23     sufficient.    They don't necessarily have to show that you

   24     absolutely saw my book.

   25                 MR. ELLIS:   That is correct.

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    1                 THE COURT:   Right.

    2                 MR. ELLIS:   However, what we have in this

    3     particular case is that there are similarities between the

    4     rugs.   No one, including their own expert, Mr. Denny, has

    5     testified that they're strikingly similar.        There's been an

    6     insufficient showing of that issue, your Honor.

    7                 Mr. Denny, under cross-examination by me, your

    8     Honor, admitted that he could not equivocally say --

    9     unequivocally say, rather, that there had been absolute

   10     copying of the plaintiff's designs by our clients.         What he

   11     had said is that we -- both parties, plaintiff and

   12     defendant -- could have copied the preexisting design.

   13     That's the same testimony as offered by Mr. Davies.

   14                 He also acknowledged that plaintiff's rug could

   15     have copied our rug.     So there's no showing of exact

   16     identical copying of the same rug.       And that's what our

   17     motion speaks to.     There's been insufficient showing of

   18     access; and, therefore, they have to prove that the rugs are

   19     substantially -- or not even substantially but strikingly

   20     similar, your Honor.     As the Court has said, that would

   21     require a showing of virtual identicalness.

   22                 And that has not been shown.      It has not been

   23     testified by any party in this case.       Mr. Singh to -- went

   24     through painstaking attempts to acknowledge and to testify

   25     that his rug was substantially different.        It was a better

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    1     quality.     It cost more.   It was wool on wool.     It was bright

    2     colors.    All the different changes that existed to make his

    3     rug different, significantly different.        Our clients agreed

    4     with Mr. Singh and said that they were different.         Our expert

    5     agreed that there was significant difference.         Mr. Denny

    6     agreed that there were differences.

    7                  So what you have, your Honor, is -- is the

    8     testimony of Mr. Singh and two rugs.       That's not enough to go

    9     to the jury in a copyright case.       It simply is not.     In all

   10     the music cases and all the cases that deal with copyright,

   11     it usually takes something more than just the plaintiff's

   12     testimony.     I think that stole my -- my music or it stole my

   13     rift.

   14                  You have to have expert witnesses to prove that, to

   15     say that they're so similar that there's no way that one

   16     could be made without the other.       Their expert did not do

   17     that -- did not do that.      So what we are left with, your

   18     Honor, is the question that I raised in my opening and I

   19     continue to raise to this day is whether the unsupported,

   20     often contradicted, and recanted testimony of Mr. Harpal

   21     Singh is enough to get this case to the jury.

   22                  We respectfully submit it is not.

   23                  MR. SONI:   There clearly was access.     Pottery

   24     Barn's catalogs were distributed to millions.         Crate and

   25     Barrel catalogs were distributed to millions.         Mr. Mazarakis,

                             UNITED STATES DISTRICT COURT
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    1     Mr. Rogakos acknowledged that those two companies are their

    2     customers.    They received their catalogs.      They sold to

    3     Pottery Barn during the same relevant period in 1998 to 2000,

    4     when the Diamond Kilim rug was shown in that catalog.

    5     Mr. Rogakos acknowledged that they look at their own products

    6     and they look at the catalogs that are brought in -- sent in

    7     from Pottery Barn.     There was access at that particular

    8     level.

    9                  In addition, Mr. Mazarakis was in Panipat during

   10     that relevant period, 1998 to 2000.

   11                  In addition, Mr. Chaudhary testified that he was

   12     active in the marketplace in 1998 to 2000.        He did business

   13     with Super Rugs, which he acknowledges also provided and

   14     produced for Aseem Imports, who was the company that Classic

   15     Concepts bought the rugs from.

   16                  So Aseem was producing the Diamond Kilim rugs from

   17     1998 to 2000.    Super Rugs was producing it between 1998 to

   18     2000.    And Surya was there and doing business with Super Rugs

   19     during that time period.      It clearly was accessed.

   20                  There's ample evidence from which the jury can

   21     conclude that, whether consciously or unconsciously,

   22     Mr. Chaudhary in Surya looked at that design, were influenced

   23     by that design, or copied that design.

   24                  The same is true with respect to Mr. Mazarakis and

   25     Hellenic.    The fact that they had access to those catalogs

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    1     certainly puts on notice to the jury the possibility, and

    2     more than that the likelihood that they were influenced by

    3     that presence and the fact that it was -- had sold in

    4     Pottery Barn for a long period of time in their selection

    5     process when they selected.

    6                 Ultimately, intent does not require -- Mr. Ellis

    7     inappropriately argued to the jury about popping over -- your

    8     head over somebody's fence and a wall and looking and peeking

    9     and rushing out to make a duplicate.       That's not a

   10     requirement here.

   11                 THE COURT:    Slow down.

   12                 MR. SONI:    So what we do have is ample evidence

   13     from what the jury to find there is access.        There is an

   14     inverse ratio application as to the degree of access

   15     necessary, depending upon the degree of similarity between

   16     the products.

   17                 With respect to the similarity between the

   18     products, the jury has both before it.        They can evaluate the

   19     extent of the similarity and the extent of the differences.

   20     We are not contending, nor have we ever contended that the

   21     defendant's rug is identical.

   22                 We have said it is similar.      We have shown that all

   23     the elements have been appropriated, and it is more than just

   24     similar.   It is substantially similar.       It's strikingly

   25     similar.   The testimony of Mr. Davies, defendant's expert,

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    1     confirms that.

    2                 He acknowledges it is similar.      He also says that

    3     they are so similar they may have come from the same source,

    4     or they could have been copied from each other.

    5                 Mr. Denny said the same thing.      Even the defendants

    6     themselves admitted that the rugs are similar.         There is more

    7     than enough to go to the jury on this.

    8                 Whether the jury believes Mr. Chaudhary and his

    9     claim about independent copying -- because he didn't create

   10     it.   He claims he copied it from somebody else or Super Rugs

   11     did -- or whether the jury concludes that because of the

   12     amount of access and because the degree of similarity there

   13     was an unlawful appropriation, that's the jury's province.

   14                 THE COURT:    All right.   Anything else?

   15                 MR. ELLIS:    It appears to me that the Court is

   16     ready to rule.    So nothing further.

   17                 THE COURT:    I'm going to reserve this under

   18     Rule 5008, given the comments of the rule, as the verdict

   19     will rule it; so I will reserve it under Rule 50B, and you

   20     know your requirements under that.

   21                 MR. ELLIS:    I do understand.

   22                 THE COURT:    Thank you.

   23                 All right.    At this point are there any other

   24     motions that I've missed?

   25                 MR. SONI:    Plaintiff's motion for a judgment as a

                             UNITED STATES DISTRICT COURT
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    1     matter of law.    Since the defendants have now rested, we

    2     would bring such a motion.

    3                 THE COURT:    Do I have a written motion from you?

    4                 MR. SONI:    I do have a written one, your Honor.

    5     The court's clerk's office was not open this morning.

    6                 THE COURT:    Have you seen it Mr. Ellis?

    7                 MR. ELLIS:    No.

    8                 MR. SONI:    We served him.

    9                 THE COURT:    Why wasn't Mr. Ellis --

   10                 MR. SONI:    We waited until the rest of the case in

   11     case there was something else that needed to be dealt with.

   12                 THE COURT:    Well, I'll let Mr. Ellis deal with it.

   13                 Why don't you take a look at it and see if

   14     there's -- can the Court have a copy?

   15                 MR. SONI:    Yes.

   16                 THE COURT:    Mr. Ellis, do you want an opportunity

   17     to respond in writing or do you wish to just simply argue?

   18                 MR. ELLIS:    I think I can make the point, your

   19     Honor, that this is the opposite of our motion.

   20                 And more importantly than that, it is completely --

   21     it is -it completely contradicts with -- Mr. Soni's prior

   22     statements completely contradict this.        He said that there

   23     was enough to go to the jury.      What he's now saying in his

   24     motion is that there's only one conclusion the jury can

   25     reach.

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    1                 And I just don't know that it's even necessary to

    2     file a written response that makes the point that you can't

    3     just send the jury back with two rugs and say you have to

    4     only conclude that this is a copy of the other.         That's

    5     clearly not the standard.      I really just would prefer not to

    6     have Mr. Stover working over the night to respond to this

    7     because I just don't even think it's a close call here, but

    8     we would reserve if the Court feels that's necessary.

    9                 MR. SONI:   We've made out a prima facie case, and

   10     there's nothing to contradict it.       We've established the

   11     creation and the validity of the copyright and the

   12     originality of the copyright through independent creation by

   13     Mr. Singh and Mr. Mehta.      We've demonstrated access, and we

   14     have demonstrated substantial similarity.

   15                 There is no bases that has been supportable for a

   16     defendant s's claim of an independent creation.         In fact,

   17     their expressed testimony of their supplier is that he didn't

   18     create.   He copied it.    He copied it from a supplier, got a

   19     sample, and the supplier, Super Rugs, copied it from somebody

   20     else.   So the independent creation defense that they assert

   21     or raise simply doesn't stand up based on the testimony.

   22                 In addition, the claim that there was a preexisting

   23     design, which is the KR-24, the defendant's rug, in 1995 has

   24     not been supported.     There is an unverified, unclear

   25     testimony of Mr. Chaudhary without reference to any specific

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    1     design or rug, without support from any documentary evidence

    2     or any other corroborating evidence.

    3                 In the face of such weak evidence and the adverse

    4     inference that must be presented in the case like this and

    5     that's been adopted by the Ninth Circuit, defendants have

    6     simply failed to carry their burden of proof.

    7                 Infringement, your Honor, is not -- is a strict

    8     liability tort.    It does not require intent.       If there's a

    9     use of the copyrighted design in a different product, even if

   10     the different product is -- is different in style or has

   11     differences in changes, that would still be an unauthorized

   12     derivative work.

   13                 So there has been, without dispute, use of the

   14     design, display of the design, distribution of the design, in

   15     a rug which has some differences and can be described as

   16     nothing other than a derivative work without authority.

   17     That's a strict liability tort.       That's an infringement.

   18                 THE COURT:   Thank you.

   19                 MR. ELLIS:   One final point, your Honor.

   20                 THE COURT:   I'm going to reserve this under 50B as

   21     well.

   22                 MR. ELLIS:   Okay.

   23                 THE COURT:   I think, depending --

   24                 MR. ELLIS:   Can I just make one point for the

   25     record, your Honor, since we're not going to file a written

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    1     point?

    2                  THE COURT:   Well, it's reserved under 50B and --

    3     but you may be limited to what you argue here, so....

    4                  MR. ELLIS:   Right.

    5                  The one point that I wanted to make, your Honor, is

    6     that those standards under -- for judgment as a matter of law

    7     under Rule 50 are different for a defendant than a plaintiff.

    8     And Mr. Soni's argument essentially said the standard for a

    9     defendant.    He was trying to point to an absence of evidence

   10     on our part, and we obviously don't agree with that.

   11                  THE COURT:   Slow down.

   12                  MR. ELLIS:   But it is insufficient for the

   13     plaintiff to say they did not prove their case, the

   14     defendant.    He's applying a different standard.       He's saying

   15     that we produced weak evidence.        Weak evidence is enough to

   16     go to the jury.    And I would disagree to say that we

   17     obviously produced strong evidence.

   18                  But that was the final point I wanted to make, your

   19     Honor.

   20                  THE COURT:   All right.    What I'm going to do is I'm

   21     going to reserve under 50B.        However, since this motion was

   22     just presented, I'll let you have, if you wish to, until

   23     tomorrow to get your opposition on file so that the records

   24     will be made on both.

   25                  And I suspect whichever one will be renewed will

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    1     depend on the jury's verdict.

    2                  MR. ELLIS:    Thank you, your Honor.

    3                  THE COURT:    So if you wish, you may get one on file

    4     by end of business tomorrow.

    5                  MR. ELLIS:    Thank you, your Honor.

    6                  MR. SONI:    Your Honor, may I just respond to what

    7     Mr. Ellis said?    And I promise not to make it longer than two

    8     sentences.

    9                  THE COURT:    Go ahead.

   10                  MR. SONI:    We had made our prima facie case.     What

   11     defendants are trying to prove is their affirmative defenses.

   12     That, they had their burden on.

   13                  THE COURT:    All right.   Thank you.

   14                  Now, the question of jury instructions and

   15     verdicts.    As I said, what I received -- and I received it in

   16     relays yesterday.     I got some of this this morning on jury

   17     instructions, but that is not what I told everyone to do.

   18     What I told you to do is what I expect in any case.

   19                  At this point the evidence is all in.      You know

   20     what the evidence is.      I want jury instructions that are not

   21     argumentative; that do not exclude relevant portions of the

   22     law.   The evidence being in, it seems to me that as

   23     professionals you all can agree on more than -- what is

   24     it? -- two or three or maybe four of these myriad jury

   25     instructions.    So I'm going to give you another chance to do

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    1     that.

    2                  What I want is -- and I expect to see is some

    3     agreement on instructions that correctly state the law

    4     without telling the jury how they should find, which some of

    5     them do, and which are fair given the evidence.

    6                  I expect them to be on a disc and in our copy.         I

    7     expect there to be an index for the Court to use in referring

    8     to.   I want a copy that is annotated and a copy that is

    9     unannotated.    Obviously the annotations do not go to the

   10     jury, nor will the index.

   11                  And you are -- what I will have you do is come in

   12     at 8:30 tomorrow, and I want something emailed, and Jake will

   13     give you the email.     It will include the agreed-upon

   14     instructions, and I expect to see a lot more of them than I

   15     have seen.     I have handled -- presided over much more

   16     difficult copyright cases than this, and the parties have

   17     been able to agree on the applicable law and instructions.

   18     Obviously, your arguments are up to you.

   19                  And the disputed ones in a document with each

   20     side's position on the disputed instruction.         I don't want

   21     a whole lot of separate documents coming in that I have to

   22     get -- my staff will have to try to correlate.         You all know

   23     how to do it.    You can do it.

   24                  Same thing with the verdict form.      I would

   25     anticipate that there could be some additional agreement on

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    1     that, but, again, I have separate documents and objections.

    2     I want a document, hard copy disc.

    3                 And certainly with respect to the jury instructions

    4     and the verdict forms, given where we are, I will anticipate

    5     having those emailed to the Court so that I start looking at

    6     them overnight by 6:00 o'clock today.

    7                 We will be here to get them, and then they will be

    8     filed with the disc and a hard copy in the morning.          And we

    9     will meet at 8:30.      And I will have had an evening to look

   10     over what you've got, along with my staff, and hopefully have

   11     some sort of constructive suggestions.        And when we have

   12     concluded that we will bring the jury back, and you will have

   13     your instructions and you will have closing.

   14                 Your time at this point, plaintiff has one hour and

   15     two minutes.    Defense has four hours.      So at this there point

   16     defense is at 12 hours and 26 minutes.        The plaintiff is at

   17     16 hours and 28 minutes.      As I had said before, those time

   18     lines will be strictly enforced.

   19                 Mr. Soni.

   20                 MR. SONI:    Yes, your Honor, two things.

   21                 I wanted to point out to the Court that we were

   22     sufficient -- significantly hampered in our examination

   23     because of the use of the interpreter for a witness that

   24     otherwise said he did have considerable English language

   25     capability.    That ate up a good deal of our time.

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    1                 In addition, your Honor, I would point out to the

    2     Court that the defendants waived their counterclaims and are

    3     down to essentially two affirmative defenses.         We had the

    4     entire case-in-chief to present.

    5                 I am going to ask -- and I understand the Court has

    6     previously said that you wanted to hold us to our time, but

    7     I'm going to ask for a little additional time in

    8     consideration of these issues.

    9                 THE COURT:    Mr. Ellis?

   10                 MR. ELLIS:    What's good for the goose is good for

   11     the gander.

   12                 THE COURT:    I made it clear at the outset.      I

   13     didn't cut you down.     I put you, counsel, to a five to -- you

   14     know what you had to prove.       If they wanted to reduce their

   15     case, that's up to them.      But -- and you know what you needed

   16     to prove.    You knew what your case was going to be.        Those

   17     time limits will be strictly enforced.

   18                 Thank you.

   19                 MR. SONI:    Additionally, your Honor, last issue.

   20                 THE COURT:    Sure.

   21                 MR. SONI:    Logistics -- will you be instructing the

   22     jury before closing argument --

   23                 THE COURT:    Yes.

   24                 MR. SONI:    -- or after closing argument?

   25                 THE COURT:    I instruct before closing argument

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    1     except for the closing instructions.       I think that's helpful

    2     because that way counsel can use the instructions they wish

    3     to in their closing without having to check on that ahead of

    4     time before your closing.      So I do the instructions except

    5     for the final instructions.      You will do your closings, and

    6     then I will do the final few instructions to the jury.

    7                 MR. SONI:    And we'll also have the final special

    8     verdict form in place before we begin our closings.

    9                 THE COURT:    That's my order; that I have that by --

   10     along with the jury instructions by 6:00 o'clock.

   11                 MR. SONI:    Very good.

   12                 Thank you.

   13                 THE COURT:    Thank you, everybody.     Get busy.

   14                 Off the record.

   15          (Whereupon, at 11:54 a.m., the proceeding concluded.)

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                             UNITED STATES DISTRICT COURT
